Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 1 of 78 Page ID #:3016




                                              SEROBIAN LAW, INC.




              DEPOSITION OF
              STEPHEN CAREY




                      EXHIBIT 2


               Lucy Ulikhanova, et al. v. County of Los Angeles, et al.
                        (C.D. Cal. 2:17-CV-9193-FMO-E)
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 2 of 78 Page ID #:3017
                                Atkinson-Baker, Inc.
                                  www.depo.com


·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · CENTRAL DISTRICT OF CALIFORNIA

·3· · · · · · · · · · · · · · - - -

·4
· ·   ·LUCY ULIKHANOVA, et al.,· · · · · ·)
·5·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · · · · · · · · ·Plaintiffs,· )
·6·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · ·vs.· · · · · · · · · · · · )· Case No.
·7·   · · · · · · · · · · · · · · · · · · )
· ·   ·COUNTY OF LOS ANGELES, et al.,· · ·)· 2:17-CV-9193-FMO-E
·8·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · · · · · · · · ·Defendants.· )
·9·   · · · · · · · · · · · · · · · · · · )

10

11

12

13

14

15· · · · · · · · · · · · DEPOSITION OF

16· · · · · · · · · · · · STEPHEN CAREY

17· · · · · · · · · · ·GLENDALE, CALIFORNIA

18· · · · · · · · · · FRIDAY, MARCH 29, 2019

19

20

21

22· ·ATKINSON-BAKER, INC.
· · ·(800) 288-3376
23· ·www.depo.com

24· ·REPORTED BY:· ·MARY FERGUSON, CSR NO. 8769

25· ·FILE NO.:· AD03529


                                  Stephen Carey
                                  March 29, 2019                             1
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 3 of 78 Page ID #:3018
                                Atkinson-Baker, Inc.
                                  www.depo.com


·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · CENTRAL DISTRICT OF CALIFORNIA

·3· · · · · · · · · · · · · · - - -

·4
· ·   ·LUCY ULIKHANOVA, et al.,· · · · · ·)
·5·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · · · · · · · · ·Plaintiffs,· )
·6·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · ·vs.· · · · · · · · · · · · )· Case No.
·7·   · · · · · · · · · · · · · · · · · · )
· ·   ·COUNTY OF LOS ANGELES, et al.,· · ·)· 2:17-CV-9193-FMO-E
·8·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · · · · · · · · ·Defendants.· )
·9·   · · · · · · · · · · · · · · · · · · )

10

11

12

13

14

15

16· ·Deposition of STEPHEN CAREY, taken on behalf of

17· ·Plaintiffs, at 100 North Brand Boulevard, Suite 600,

18· ·Glendale, California, commencing at 1:35 p.m., Friday,

19· ·March 29, 2019, before Mary Ferguson, CSR No. 8769.

20

21

22

23

24

25


                                  Stephen Carey
                                  March 29, 2019                             2
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 4 of 78 Page ID #:3019
                                Atkinson-Baker, Inc.
                                  www.depo.com


·1· · · · · · · · · · A P P E A R A N C E S

·2

·3· ·FOR PLAINTIFFS ULIKHANOVA AND MINOR P.G.:

·4·   ·SEROBIAN LAW, INC.
· ·   ·BY:· LIANA SEROBIAN, ESQUIRE
·5·   ·100 North Brand Boulevard
· ·   ·Suite 600
·6·   ·Glendale, California· 91203
· ·   ·(818) 539-2249
·7·   ·l.serobian@yahoo.com

·8

·9· ·FOR THE DEFENDANTS:

10·   ·PETERSON BRADFORD BURKWITZ
· ·   ·BY:· AVI BURKWITZ, ESQUIRE
11·   ·100 North First Street
· ·   ·Suite 300
12·   ·Burbank, California· 91502-1845
· ·   ·(818) 562-5800
13·   ·aburkwitz@pbbllp.com

14

15

16

17

18

19

20

21

22

23

24

25


                                  Stephen Carey
                                  March 29, 2019                             3
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 5 of 78 Page ID #:3020
                                Atkinson-Baker, Inc.
                                  www.depo.com


·1· · · · · · · · · · · · · I N D E X

·2

·3· ·WITNESS:· ·STEPHEN CAREY

·4· ·EXAMINATION· · · · · · · · · · · · · · · · · · ·PAGE

·5· · · · · ·BY MS. SEROBIAN· · · · · · · · · · · · · ·5

·6

·7
· · ·EXHIBITS
·8
· · · · · · · · · · · · · ·PLAINTIFFS'
·9· ·NUMBER· · · ·DESCRIPTION· · · · · · · · · · · · PAGE

10· ·1· · · ·E-mail from Mr. Carey to
· · · · · · ·Ms. Ulikhanova, dated March 31st,
11· · · · · ·2016, regarding vaccination, 2 pages· · ·25

12·   ·7· · · ·E-mail from Stephen Carey to Ronald
· ·   · · · · ·Funk, et al., dated 6/4/2016, 3 pages· · ·-
13
· ·   ·9· · · ·Letter, May 23, 2017, To Whom It May
14·   · · · · ·Concern, from Dr. Tara Zandvliet, 2
· ·   · · · · ·pages· · · · · · · · · · · · · · · · · · ·-
15
· ·   ·11· · · E-mail dated March 23, 2017, from
16·   · · · · ·Ms. Helwajian to Ms. Ulikhanova, 13
· ·   · · · · ·pages· · · · · · · · · · · · · · · · · · ·-
17
· ·   ·13· · · Minute order for adjudication
18·   · · · · ·hearing, 3 pages· · · · · · · · · · · · ·10

19· · · · · ·(Skipped exhibit numbers intentionally omitted.)

20

21· ·QUESTION WITNESS WAS INSTRUCTED NOT TO ANSWER:

22· · · · · · · · · · · PAGE 13· ·LINE 10

23

24· ·INFORMATION TO BE SUPPLIED:

25· · · · · · · · · · · · · · (NONE)


                                  Stephen Carey
                                  March 29, 2019                             4YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 6 of 78 Page ID #:3021
                                Atkinson-Baker, Inc.
                                  www.depo.com


·1· · · · · · · · · · · · STEPHEN CAREY,
·2· · · · · · · having been first duly sworn, was
·3· · · · · · · examined and testified as follows:
·4
·5· · · · · · · · · · · · ·EXAMINATION
·6· ·BY MS. SEROBIAN:
·7· · · ·Q.· ·Good afternoon, Mr. Carey.· Thank you for
·8· ·coming in.
·9· · · ·A.· ·Uh-huh.
10· · · ·Q.· ·Could you please, for the record, state and
11· ·spell your full name.
12· · · ·A.· ·Stephen Carey.· S-T-E-P-H-E-N, C-A-R-E-Y.
13· · · ·Q.· ·What is your position with the County of
14· ·Los Angeles?
15· · · ·A.· ·I am a Children's Social Worker 3.
16· · · ·Q.· ·How long have you been in that position?
17· · · ·A.· ·I have been a Children's Social Worker for 24
18· ·years and a Children's Social Worker 3 for, I am
19· ·guessing, at least 15 to 20 years.
20· · · ·Q.· ·What does that entail, to be a Children's
21· ·Social Worker 3; what duties do you have?
22· · · ·A.· ·Well, there are a number of different
23· ·assignments to Children's Social Worker 3.· My current
24· ·assignment is as a dependency investigator.
25· · · · · · Are you asking me what my role is in my


                                  Stephen Carey
                                  March 29, 2019                             5YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 7 of 78 Page ID #:3022
                                Atkinson-Baker, Inc.
                                  www.depo.com


·1· ·current assignment, or in general as a Children's Social
·2· ·Worker 3?
·3· · · ·Q.· ·First question is in general, and then I will
·4· ·ask you regarding your role in this case.
·5· · · ·A.· ·Okay.
·6· · · · · · So, in general, as a social worker, depending
·7· ·on the assignment -- well, I guess it does depend on
·8· ·the assignment.
·9· · · ·Q.· ·And what was your assignment in this
10· ·particular case?
11· · · · · · For the record, the case is brought against
12· ·you and co-defendant Maral Helwajian by Plaintiffs Lucy
13· ·Ulikhanova and her minor child Penelopy.
14· · · · · · Are you familiar with these parties?
15· · · ·A.· ·Yes.
16· · · ·Q.· ·What was your role in their dependency case?
17· · · ·A.· ·I was the dependency investigator on that case.
18· · · ·Q.· ·For what period of time were you the dependency
19· ·investigator in this case?
20· · · ·A.· ·I was assigned to the case shortly or
21· ·immediately after the detention hearing, and I continued
22· ·to be the dependency investigator until the judge made
23· ·its jurisdiction and disposition rule on the
24· ·allegations.
25· · · ·Q.· ·Can you please tell us the date associated with


                                  Stephen Carey
                                  March 29, 2019                             6YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 8 of 78 Page ID #:3023
                                Atkinson-Baker, Inc.
                                  www.depo.com


·1· ·the detention hearing around also the jurisdiction and
·2· ·disposition hearing that you just mentioned?
·3· · · ·A.· ·Without reviewing the legal file, I don't know
·4· ·those dates.
·5· · · ·Q.· ·You don't recall when the detention hearing
·6· ·took place?
·7· · · ·A.· ·I don't know the specific date of the detention
·8· ·hearing or the specific date of the -- there are several
·9· ·jurisdiction disposition hearings.
10· · · ·Q.· ·You said when the judge made the ruling,
11· ·correct?· So can't be several rulings made.
12· · · · · · There could be continuances, but one date
13· ·generally when the ruling is made; is that correct?
14· · · ·A.· ·Well, there is a jurisdiction ruling on the
15· ·allegations, and then there is a disposition.
16· ·Sometimes they are the same day; other times they are
17· ·different.
18· · · · · · In this case, I don't recall if both were on
19· ·the same date or not.
20· · · ·Q.· ·As far as the detention hearing, do you
21· ·remember the month and the year without the date,
22· ·specifically?
23· · · ·A.· ·I don't remember the month.· I want to say
24· ·2016.
25· · · ·Q.· ·How about for the jurisdiction and/or


                                  Stephen Carey
                                  March 29, 2019                             7YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 9 of 78 Page ID #:3024
                                Atkinson-Baker, Inc.
                                  www.depo.com


·1· ·disposition hearing; do you remember the month and the
·2· ·year?
·3· · · ·A.· ·It would have been maybe sometime in June of
·4· ·2016, perhaps, somewhere around there, but honestly, I
·5· ·don't recall.
·6· · · ·Q.· ·So you think jurisdictional findings or
·7· ·disposition were made in June 2016?
·8· · · ·A.· ·I honestly don't recall; I am guessing.
·9· · · ·Q.· ·Did you review the file in this case prior to
10· ·coming here today?
11· · · ·A.· ·I reviewed some documents of the legal file.
12· · · ·Q.· ·What documents did you review?
13· · · ·A.· ·I reviewed some e-mails; I reviewed a
14· ·supplemental report, a few pages of a supplemental
15· ·report, reviewed an attachment to one of the reports,
16· ·which was the MAT summary of findings.
17· · · · · · I can't recall the other documents that I saw.
18· · · ·Q.· ·Did you review the procedural history of the
19· ·case, where it would tell you when the detention took
20· ·place, when the jurisdiction took place, when the
21· ·disposition took place and when the case closed?
22· · · · · · Did you review the procedural history?
23· · · ·A.· ·I am not familiar with the term "procedural
24· ·history."
25· · · ·Q.· ·Just basically the term "procedure,"


                                  Stephen Carey
                                  March 29, 2019                             8YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 10 of 78 Page ID #:3025
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·procedural history timeframe.
·2· · · ·A.· ·I remember getting instructions, "Don't review
·3· ·the case.· Don't review the case.· Only review things
·4· ·that we provide you, and don't talk to anybody about the
·5· ·case," and I stuck to that.
·6· · · · · · I was provided a few documents that I reviewed
·7· ·and that I can remember, I spoke to about this.
·8· · · ·Q.· ·I see.
·9· · · · · · Well, if you didn't review the case completely,
10· ·do you know what happened to the case; do you know how
11· ·it ended?
12· · · ·A.· ·I know -- I know roughly how it ended.
13· · · ·Q.· ·What is your understanding?
14· · · ·A.· ·At least -- I need to clarify.
15· · · · · · When you say "ended," I am only -- I only know
16· ·what happened up to the point of my assignment, when
17· ·that ended, which was the point of disposition.
18· · · ·Q.· ·And you don't know --
19· · · ·A.· ·So I do recall the general details of what
20· ·happened there.
21· · · ·Q.· ·So because you were told to review certain
22· ·items and not to review others, but you were assigned
23· ·up to the disposition, correct?
24· · · ·A.· ·Yes.
25· · · ·Q.· ·When -- at least did you review when your


                                   Stephen Carey
                                   March 29, 2019                            9YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 11 of 78 Page ID #:3026
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·assignment ended?
·2· · · ·A.· ·Are you asking do I know specific dates?
·3· · · ·Q.· ·No, month is fine.· General month and year.
·4· · · · · · When did your assignment end in this case,
·5· ·general month and year?
·6· · · ·A.· ·I don't know the -- I don't recall.· I don't
·7· ·know that.
·8· · · · · · MR. BURKWITZ:· You were told to give an
·9· ·estimate.· So if you can give an approximation?· If you
10· ·can say a month and year or you can even give a season,
11· ·that's fine.
12· · · · · · THE WITNESS:· You know, I recall there was a
13· ·June of 2016 date, that that was the date that there
14· ·was a continuance date.· I saw one of them on my reports
15· ·with that date on it, so it must have been at least that
16· ·date or longer, sometime in or after June of 2016.
17· · · · · · MS. SEROBIAN:· In that case, let me refer you
18· ·to Plaintiffs's Exhibit 13.
19· · · · · · (Plaintiffs' Exhibit 13 was marked for
20· ·identification.)
21· ·BY MS. SEROBIAN:
22· · · ·Q.· ·Can you please review this document that I have
23· ·provided and tell us what you think it is.
24· · · ·A.· ·This appears to be a minute order for an
25· ·adjudication hearing.


                                   Stephen Carey
                                   March 29, 2019                           10YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 12 of 78 Page ID #:3027
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · · · · Because it is an adjudication hearing and not
·2· ·a disposition hearing, I would assume the court has not
·3· ·yet ruled on the allegations.
·4· · · · · · But in this particular minute order dated
·5· ·June 10th of 2016, the court -- looks like it issues a
·6· ·temporary restraining order against the mother.
·7· · · · · · It extends the temporary restraining order to
·8· ·the following hearing, which is July 11 of 2016.
·9· · · · · · Continues the matter to July 11, 2016, and
10· ·continued for further adjudication on August 16th of
11· ·2016.
12· · · · · · The court authorizes immunization, over the
13· ·mother's objection.
14· · · ·Q.· ·Thank you; let me stop you there.
15· · · ·A.· ·Okay.
16· · · ·Q.· ·You said there's a restraining order, temporary
17· ·one, issued against the mother.
18· · · · · · And do you know who it is meant to protect?
19· · · ·A.· ·Yes.
20· · · ·Q.· ·Can you please tell us?
21· · · ·A.· ·The relative caregiver, her business, her
22· ·property and, I believe, her other family members.
23· · · · · · Let's see.· It says:
24· · · · · · · · "Persons protected are the
25· · · · · · paternal great aunt, paternal great


                                   Stephen Carey
                                   March 29, 2019                           11YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 13 of 78 Page ID #:3028
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · · · · uncle and the paternal cousins."
·2· · · ·Q.· ·In other words, people living in the residence,
·3· ·and that's why they were included?
·4· · · ·A.· ·I believe so, yes.
·5· · · ·Q.· ·At the continued hearing for the temporary
·6· ·restraining order, do you know if a permanent one was
·7· ·issued by the general clerk?
·8· · · ·A.· ·I don't recall.
·9· · · ·Q.· ·As far as -- you mentioned there was a
10· ·continuance adjudication hearing to August 16, 2016.
11· · · · · · Is that correct?
12· · · ·A.· ·That's what this minute order indicates.
13· · · ·Q.· ·Are you reading that under the title named,
14· ·"Continuance," line 13?
15· · · ·A.· ·Yes.
16· · · ·Q.· ·What does that tell you when the adjudication
17· ·hearing was continued and not held at this hearing?
18· · · ·A.· ·That line says that the adjudication of the
19· ·allegations is continued to that date of August 16th.
20· · · ·Q.· ·So what does that tell you?
21· · · · · · Does that mean that no findings are made on
22· ·the allegations that the Department made against the
23· ·mother and/or father in this case?
24· · · ·A.· ·I believe so.
25· · · ·Q.· ·Does that also tell you that the disposition


                                   Stephen Carey
                                   March 29, 2019                           12YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 14 of 78 Page ID #:3029
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·hearing had not yet taken place at least as of June 10,
·2· ·2016?
·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·What is your understanding, does the
·5· ·disposition hearing take place after the adjudication
·6· ·hearing?
·7· · · ·A.· ·Yes.
·8· · · ·Q.· ·Generally what findings would the court be
·9· ·making; what is your understanding as to what findings
10· ·would the court be making at the disposition hearing
11· ·following the adjudication hearing?
12· · · ·A.· ·Are you asking me in general or specific to
13· ·this case?
14· · · ·Q.· ·In general.
15· · · ·A.· ·In general, the court disposition rulings have
16· ·to do -- they follow from the adjudication awards.
17· · · · · · So depending on what the court found true in
18· ·the petition, they would then determine the
19· ·disposition.
20· · · ·Q.· ·Let's say, hypothetically, that the court
21· ·sustains one or more of the allegations in the petition
22· ·and the case then goes on to the disposition hearing.
23· · · · · · What would the court need to do to start making
24· ·orders for the child and/or parent in that case?
25· · · ·A.· ·Are you asking me what would the court --


                                   Stephen Carey
                                   March 29, 2019                           13YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 15 of 78 Page ID #:3030
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·Need to do?
·2· · · ·A.· ·-- need to do?
·3· · · ·Q.· ·Yes, so it could have authority to start making
·4· ·orders for the care of the child and, you know, case
·5· ·file of the parent in that case.
·6· · · ·A.· ·Okay, I guess I need clarification.· I don't
·7· ·know what the court needs to do, because I am not a
·8· ·member of the court.
·9· · · · · · I understand that, based on the court's
10· ·findings in the jurisdictional issues, the court then
11· ·has to make orders about issues like placement and
12· ·issues like visitation, issues of services that need to
13· ·be ordered for parents and children and parties.
14· · · · · · But as far as your question, what does the
15· ·court need to do, I don't know.
16· · · ·Q.· ·Let me give you terminology you may have heard
17· ·and are familiar with.
18· · · · · · Does the court need to take legal jurisdiction
19· ·over the minor at that disposition hearing in order to
20· ·have authority to make the orders of placement and
21· ·visitation and case plan and so forth; what is your
22· ·understanding?
23· · · ·A.· ·Yes.
24· · · ·Q.· ·So as of June 10, 2016, you testified that,
25· ·from reviewing this minute order, the court had not


                                   Stephen Carey
                                   March 29, 2019                           14YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 16 of 78 Page ID #:3031
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·yet -- did not yet hold the disposition hearing, so,
·2· ·therefore, the court must not have taken legal
·3· ·jurisdiction of this minor; is that correct?
·4· · · · · · MR. BURKWITZ:· Misstates the evidence.
·5· · · · · · MS. SEROBIAN:· Let me rephrase.
·6· · · ·Q.· ·You testified that, from your review of this
·7· ·June 10, 2016 minute order, line 13, it is apparent that
·8· ·the juvenile court did not yet hold the adjudication
·9· ·and/or disposition hearing; is that correct?
10· · · ·A.· ·They did not -- to my understanding, they did
11· ·not meet or make findings of the allegation, and they
12· ·did not make a disposition ruling, since they hadn't
13· ·made findings on allegations.
14· · · ·Q.· ·As of June 10, 2016, do you know if the mother
15· ·in this case, Ms. Ulikhanova, retained her educational
16· ·rights?
17· · · ·A.· ·I need to clarify something, if I may.
18· · · ·Q.· ·Sure.
19· · · ·A.· ·The issues that we were just speaking about --
20· ·and I don't recall if this happened -- but the court
21· ·can --
22· · · ·Q.· ·There is no question pending.· I am sorry.
23· · · · · · I will ask you or your attorney may come back
24· ·and ask you for things to clarify, but there is no
25· ·question pending at this time.


                                   Stephen Carey
                                   March 29, 2019                           15YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 17 of 78 Page ID #:3032
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·A.· ·They may have made --
·2· · · ·Q.· ·Please, there is no question pending at this
·3· ·time.
·4· · · · · · MR. BURKWITZ:· She doesn't want you to clarify.
·5· ·Please do it later; that's fine.
·6· · · · · · THE WITNESS:· Okay.
·7· · · · · · MS. SEROBIAN:· I don't know what you are trying
·8· ·to clarify or if you're going to just speak on your own
·9· ·as to whatever issues you want to speak to.· Your
10· ·attorney can ask questions, and then you can clarify.
11· · · · · · Okay?
12· · · · · · THE WITNESS:· That's fine.
13· ·BY MS. SEROBIAN:
14· · · ·Q.· ·I am asking you whether you know, as of
15· ·June 10, 2016, if the mother in this case, Ms. Lucy
16· ·Ulikhanova, retained her educational rights.
17· · · ·A.· ·I don't recall.· Or I don't remember what
18· ·rulings had been made about educational rights to that
19· ·point.
20· · · ·Q.· ·Do you know if, during your assignment to this
21· ·case, if mother's educational rights were ever limited?
22· · · ·A.· ·I don't think they were during my assignment.
23· ·I don't recall.· I don't think so.
24· · · ·Q.· ·You don't think so, okay.
25· · · · · · Generally, not particular to this case, but in


                                   Stephen Carey
                                   March 29, 2019                           16YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 18 of 78 Page ID #:3033
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·general, as part of your practice as a social worker,
·2· ·what would you need to do to limit a parent's
·3· ·educational rights in a dependency court?
·4· · · ·A.· ·I would need to establish that the parent was
·5· ·not acting in the child's best interests for the court
·6· ·to take that action.
·7· · · ·Q.· ·So it's not something that would be within your
·8· ·discretion to do, take away a parent's educational
·9· ·rights.
10· · · · · · You would actually need to petition to the
11· ·court to limit those rights; is that correct?
12· · · ·A.· ·Are you asking me if I, as a social worker, or
13· ·a dependency investigator, can limit a parent's
14· ·educational rights?
15· · · ·Q.· ·Without a court order, correct; that's what I
16· ·am asking you.
17· · · ·A.· ·No.
18· · · ·Q.· ·No, you can't?
19· · · ·A.· ·I cannot.
20· · · ·Q.· ·You cannot do that.
21· · · · · · So if you were to believe in that particular
22· ·case you want to, for example, limit a certain parent's
23· ·educational rights, then you would petition the juvenile
24· ·court to do so; is that correct?
25· · · ·A.· ·That is correct.


                                   Stephen Carey
                                   March 29, 2019                           17YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 19 of 78 Page ID #:3034
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·And in order to prove your point, you said you
·2· ·would need to establish that the parent is not acting in
·3· ·the child's best interests, is that correct, or are
·4· ·there other factors that need to be established --
·5· · · ·A.· ·There are other factors.· If a parent was
·6· ·unavailable.· If a current caregiver -- if the child
·7· ·needed, required educational services that the
·8· ·caregiver needed to participate in or act on behalf of.
·9· · · ·Q.· ·There are other criteria.
10· · · ·A.· ·Right, but certainly it would still require a
11· ·court order to do so.
12· · · ·Q.· ·And you do not -- do you recall if ever during
13· ·this dependency case, even after your assignment was
14· ·completed, if mother's educational rights were limited?
15· · · ·A.· ·I don't know about after.· I don't believe they
16· ·were before.
17· · · ·Q.· ·Did you ever ask the mother if she wanted to
18· ·skip kindergarten for her child?
19· · · ·A.· ·Did I ask the mother if she wanted to skip
20· ·kindergarten for the child?
21· · · ·Q.· ·Yes.
22· · · ·A.· ·I don't believe I asked her that question.
23· · · ·Q.· ·You said you have been a social worker for 25
24· ·years, correct?
25· · · ·A.· ·24 years.


                                   Stephen Carey
                                   March 29, 2019                           18YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 20 of 78 Page ID #:3035
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·24 years.· Close to retiring, right?· Must be
·2· ·happy.
·3· · · · · · During that timeframe, have you participated in
·4· ·any trainings regarding -- by your employer, the County
·5· ·of Los Angeles, regarding what it is -- what does it
·6· ·mean for a parent to have educational rights?
·7· · · ·A.· ·That is a very broad question.
·8· · · · · · Have I ever received any training at any point
·9· ·in my --
10· · · ·Q.· ·Let me limit the timeframe.
11· · · · · · The last five years, for example.
12· · · · · · Within the last five years, including when this
13· ·case was initiated, did you receive any training
14· ·regarding what do educational rights of parents entail;
15· ·what do they mean?
16· · · ·A.· ·Certainly a number of trainings have touched
17· ·on, have mentioned parental rights and what that means.
18· · · ·Q.· ·I am talking specifically about educational
19· ·rights.
20· · · ·A.· ·I am not aware of any specific educational
21· ·rights' trainings offered to social workers.
22· · · ·Q.· ·Do you know what is the state of law in
23· ·California as to when the child needs to be involved in
24· ·school?
25· · · ·A.· ·I believe in the State of California, children


                                   Stephen Carey
                                   March 29, 2019                           19YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 21 of 78 Page ID #:3036
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·need to be enrolled in school in the first grade.
·2· · · ·Q.· ·Is it your understanding that parents have a
·3· ·right to skip kindergarten?
·4· · · ·A.· ·I believe that's true.
·5· · · ·Q.· ·So, hypothetically, if you knew of a parent who
·6· ·had skipped kindergarten but social workers prefer the
·7· ·child to be in kindergarten, the parent still retains
·8· ·the right to skip kindergarten?
·9· · · ·A.· ·Yes -- sorry, you went a little fast.               I
10· ·couldn't follow.
11· · · ·Q.· ·Of course, of course.
12· · · · · · I am saying hypothetically, for example, you
13· ·have a child who is at an age who may be enrolled in
14· ·kindergarten.
15· · · · · · However, the parent prefers to skip
16· ·kindergarten.
17· · · · · · In that case, a social worker can't really
18· ·accuse the parent of being neglectful or not being
19· ·appropriate, because they have a right to skip
20· ·kindergarten under California law; is that correct?
21· · · · · · MR. BURKWITZ:· It is overbroad the way it's
22· ·phrased, but you can answer.
23· · · · · · THE WITNESS:· If that is the only issue --
24· ·BY MS. SEROBIAN:
25· · · ·Q.· ·Yes, being the only issue.


                                   Stephen Carey
                                   March 29, 2019                           20YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 22 of 78 Page ID #:3037
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·A.· ·Then that's correct.· As far as I understand,
·2· ·that's correct.
·3· · · ·Q.· ·It would not be considered neglect of
·4· ·educational rights?
·5· · · ·A.· ·If a parent chose to not enroll their child in
·6· ·kindergarten, that's correct.
·7· · · ·Q.· ·That's correct, okay.
·8· · · · · · Turning to vaccinations and immunizations of
·9· ·children, what is your understanding of the current law
10· ·in California as to when the child needs to be
11· ·vaccinated or immunized?
12· · · ·A.· ·It's my understanding children are required to
13· ·be immunized in order to participate in public schools.
14· · · ·Q.· ·Do you recall if there was any change of law
15· ·recently?
16· · · ·A.· ·Yes, I believe in 2016, that law changed.· It
17· ·was not a -- it was not a requirement by law, but it was
18· ·strongly recommended.· But it was not a legal
19· ·requirement.· Then it became a legal requirement in
20· ·2016.
21· · · ·Q.· ·After 2016?
22· · · ·A.· ·Okay.· I don't recall exactly when it started,
23· ·but it was around that time.
24· · · ·Q.· ·Around that time.
25· · · · · · Do you recall the date when the change of law


                                   Stephen Carey
                                   March 29, 2019                           21YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 23 of 78 Page ID #:3038
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·took place?
·2· · · ·A.· ·No.
·3· · · ·Q.· ·Or the month?
·4· · · ·A.· ·No.
·5· · · ·Q.· ·But it was sometime within 2016?
·6· · · ·A.· ·It was somewhere around then.
·7· · · ·Q.· ·Somewhere around.
·8· · · · · · So your understanding of the previous law was
·9· ·that it was strongly recommended but not required for
10· ·the children to be immunized when they were enrolled in
11· ·public school prior to the change of law.
12· · · · · · Is that correct?
13· · · ·A.· ·I believe so.
14· · · ·Q.· ·Then following the change of law, sometime in
15· ·2016, there was a requirement for the children enrolled
16· ·in public school to be immunized?
17· · · ·A.· ·Yes.
18· · · ·Q.· ·Do you know if there were any -- I will break
19· ·it down.
20· · · · · · You don't remember the exact time the new law
21· ·took effect sometime in 2016.· Therefore, I am going to
22· ·ask you more prior to the change of law and after the
23· ·change of law.· My questions are going to be phrased
24· ·with that distinction.
25· · · · · · Now, prior to the change of law, what did the


                                   Stephen Carey
                                   March 29, 2019                           22YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 24 of 78 Page ID #:3039
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·parent need to do to refuse or exempt their child from
·2· ·being immunized when they were still involved in a
·3· ·public school?
·4· · · ·A.· ·I don't know.
·5· · · ·Q.· ·After the change of law and probably effective
·6· ·still, presently, what do parents -- could still do to
·7· ·refuse or exempt their child from being immunized; do
·8· ·you know?
·9· · · ·A.· ·I honestly don't know exactly what is required.
10· ·I haven't run into that.
11· · · ·Q.· ·We talked about your employer, County of
12· ·Los Angeles, training you with regards to the parents'
13· ·educational right and what it meant, within the last
14· ·five years at least, and you testified you did not
15· ·recall any such training, correct, with respect to
16· ·educational --
17· · · ·A.· ·With respect to specific parental educational
18· ·rights, correct.
19· · · ·Q.· ·Now my question is going to be similar, but
20· ·except with the parental right to refuse or excuse
21· ·their child from being immunized.· So I am going to
22· ·break it down in two ways again, prior to the change of
23· ·law and after the change of law.
24· · · · · · Prior to the change of law regarding
25· ·immunization sometime within 2016, what type of


                                   Stephen Carey
                                   March 29, 2019                           23YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 25 of 78 Page ID #:3040
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·training did you receive by your employer, County of
·2· ·Los Angeles, regarding the parents' right to refuse or
·3· ·excuse their child from being immunized?
·4· · · ·A.· ·No specific training.
·5· · · ·Q.· ·Now the question is going to be as related to
·6· ·after the change of law, including the present, because
·7· ·once the law changed, is it your understanding that it
·8· ·is presently the same law after the change in 2016?
·9· · · · · · Let me clarify.· It was a very -- you know,
10· ·kind of a difficult question.
11· · · · · · Is it your understanding that once the change
12· ·of law took place sometime in 2016 regarding requiring
13· ·children to be immunized if enrolled in public school,
14· ·that that law remains in place now, that that is the
15· ·same law; is that your understanding?
16· · · ·A.· ·Yes.
17· · · ·Q.· ·So my question now relates to the new law and
18· ·present law.
19· · · · · · What type of training has your employer, County
20· ·of Los Angeles, done to inform you and other social
21· ·workers regarding the present law immunization and
22· ·vaccination of children and the parents' rights to
23· ·excuse or refuse to do so?
24· · · ·A.· ·I don't recall any specific trainings.· There
25· ·may have been information -- policy information and new


                                   Stephen Carey
                                   March 29, 2019                           24YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 26 of 78 Page ID #:3041
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·laws trainings that inform us of these laws.· I am -- I
·2· ·am --
·3· · · ·Q.· ·You are not positive?
·4· · · ·A.· ·I am not positive, but that is how the County
·5· ·often provides that information to the workers.
·6· · · ·Q.· ·But you also testified now that you do not know
·7· ·what those present laws are and how a parent can exempt
·8· ·their child from being immunized presently; right now,
·9· ·you do not know that, correct?
10· · · ·A.· ·I don't know all the details of -- I don't know
11· ·all the details of the law; that's correct.
12· · · ·Q.· ·Have you heard about when the law took effect
13· ·sometime in 2016, that there was a grandfather clause
14· ·permitting parents to continue to refuse immunization if
15· ·they had done so previously for at least a year; do you
16· ·know about that --
17· · · ·A.· ·I don't know about that specific one.· I have
18· ·heard that there are some exceptions.· I don't know the
19· ·details of those.
20· · · · · · MS. SEROBIAN:· I am going to turn to
21· ·Plaintiffs' Exhibit 1.
22· · · · · · (Plaintiffs' Exhibit 1 was marked for
23· ·identification.)
24· ·BY MS. SEROBIAN:
25· · · ·Q.· ·Please take a look at this exhibit and tell me


                                   Stephen Carey
                                   March 29, 2019                           25YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 27 of 78 Page ID #:3042
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·what type of e-mail communication is this, who are the
·2· ·parties, the date and the subject.
·3· · · ·A.· ·This appears to be an e-mail from me to
·4· ·Ms. Ulikhanova, dated March 31st of 2016, regarding
·5· ·vaccination.
·6· · · ·Q.· ·Can you read that one paragraph line that you
·7· ·wrote in this e-mail, please.
·8· · · ·A.· · "I spoke to Marylou yesterday.
·9· · · · · · Penelopy has not been vaccinated."
10· · · ·Q.· ·What were you responding to in this e-mail?· It
11· ·seemed like you were responding to something.
12· · · ·A.· ·There's an e-mail thread below this.· It
13· ·appears to be an e-mail from Lucy Ulikhanova, dated
14· ·March 30th of 2016.
15· · · ·Q.· ·And is it an e-mail from -- can you tell us who
16· ·it is from?
17· · · ·A.· ·It appears to be from Lucy Ulikhanova,
18· ·addressed to Maral, who was the social worker assigned
19· ·at this time.
20· · · ·Q.· ·But you responded as well, so could it be that
21· ·you were also copied on this e-mail?
22· · · ·A.· ·It appears that I was copied, but I don't have
23· ·those details, and I don't know if this was a greater
24· ·e-mail thread.· I am only provided with these -- with
25· ·this single page, so I don't know the context.


                                   Stephen Carey
                                   March 29, 2019                           26YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 28 of 78 Page ID #:3043
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·But you responded with information that
·2· ·Penelopy has not been vaccinated, correct?
·3· · · ·A.· ·That's what this appears to be.
·4· · · ·Q.· ·So do you remember if your interactions with
·5· ·the mother, Lucy Ulikhanova, that she -- this was a hot
·6· ·topic for her; she objected to her child being
·7· ·vaccinated?
·8· · · ·A.· ·Yes.
·9· · · ·Q.· ·And did she inform you of this very early on in
10· ·the case?
11· · · ·A.· ·I don't know about very early on, but yes, she
12· ·informed us of this when this became an issue.
13· · · ·Q.· ·Did she provide you with any documents to show
14· ·that she had previously refused vaccinations and that
15· ·she had enrolled her child in a school with documents
16· ·showing that she refused under her personal beliefs and
17· ·also signed off by the pediatrician for her child, did
18· ·she --
19· · · ·A.· ·I believe so, yes.
20· · · ·Q.· ·Before moving on to those documents, I would
21· ·like you to read, if possible, from this e-mail.· It's
22· ·one of the last paragraphs, and it starts with, "I'm
23· ·concerned..."
24· · · · · · Could you please read that?
25· · · ·A.· ·Yes.


                                   Stephen Carey
                                   March 29, 2019                           27YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 29 of 78 Page ID #:3044
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·Please read that paragraph.
·2· · · ·A.· · "I'm concerned my authority as
·3· · · · · · mother has been undermined.· I have
·4· · · · · · my own valid reasons not to
·5· · · · · · vaccinate Penelopy at this time,
·6· · · · · · and the only thing I can assume
·7· · · · · · possibility why she has been sick
·8· · · · · · for so long and first time in this
·9· · · · · · manner could be from a possible
10· · · · · · side effect by a vaccination."
11· · · ·Q.· ·Just focusing on the first sentence where she
12· ·says, "I am concerned my authority as mother has been
13· ·undermined," why do you think she feels this way?
14· · · · · · MR. BURKWITZ:· Calls for speculation.
15· · · · · · You want him to guess?
16· ·BY MS. SEROBIAN:
17· · · ·Q.· ·Did she express to you over the telephone,
18· ·verbally or in other e-mails, why she feels that her
19· ·authority as mother has been undermined?
20· · · ·A.· ·I -- I can speculate.
21· · · ·Q.· ·Do you recall -- I mean, did you have
22· ·conversations with her regarding these issues?
23· · · ·A.· ·I did not ask her about -- specifically about
24· ·feeling undermined.
25· · · ·Q.· ·Did she tell you why she felt that she was


                                   Stephen Carey
                                   March 29, 2019                           28YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 30 of 78 Page ID #:3045
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·undermined?
·2· · · ·A.· ·I am sure she did on many occasions.
·3· · · ·Q.· ·But you just don't recall the details or do you
·4· ·recall the details?
·5· · · ·A.· ·It's very difficult to recall the details.
·6· ·There were many, many e-mails with many, many
·7· ·attachments, and it was very difficult to stay on top
·8· ·of any single issue.
·9· · · · · · But this issue, I do recall.· She was clear she
10· ·did not want her child vaccinated.
11· · · ·Q.· ·Now, moving on to Exhibit 3, which was
12· ·previously marked and provided to counsel and the
13· ·reporter.
14· · · · · · Could you please take a look at this exhibit,
15· ·not the forward to me but the body.
16· · · · · · Take a look at the body of the e-mail, who is
17· ·the recipient, if you are copied on it, the date and the
18· ·subject of this e-mail.
19· · · ·A.· ·I am reading the top -- from the top, "From
20· ·Lucy Ulikhanova."· The subject is, "Second e-mail
21· ·warning to Stephen Carey."
22· · · ·Q.· ·I would like you to read not the forward part,
23· ·not where it's forwarded to me, but the forwarded
24· ·message, itself.
25· · · ·A.· ·So I -- I am a little -- it's going to take me


                                   Stephen Carey
                                   March 29, 2019                           29YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 31 of 78 Page ID #:3046
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·a minute.· I am a little confused.· I don't understand.
·2· · · · · · This top part is the forwarded -- everything
·3· ·under "Sent from my iPhone --"
·4· · · ·Q.· ·Yes.
·5· · · ·A.· ·-- is something she forwarded to you, and
·6· ·that's what that top line is?
·7· · · ·Q.· ·Correct.
·8· · · · · · Then the forwarded e-mail would start beneath
·9· ·where it says "Begin forwarded message."
10· · · ·A.· ·So on April 6th of 2016, Lucy Ulikhanova sent
11· ·an e-mail to myself and cc'd an attorney and a Rachel
12· ·Raymond.· The subject was, "Waiver vaccine."
13· · · · · · · · "Don't know why if it's any use,
14· · · · · · but here's a vaccine waiver I
15· · · · · · signed when I took Penelopy to
16· · · · · · pre-K St. Marks private school."
17· · · ·Q.· ·Is there an attachment to this e-mail?
18· · · ·A.· ·Yes.
19· · · ·Q.· ·Please take a look at the attachment and tell
20· ·us how many pages those are.
21· · · ·A.· ·One page looks like -- sorry, hold on.
22· · · · · · There's a physician's report for child care
23· ·centers.· It appears to be two pages.
24· · · ·Q.· ·What is the title of the second page, please?
25· · · ·A.· ·The title of the second page, "Refusal to


                                   Stephen Carey
                                   March 29, 2019                           30YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 32 of 78 Page ID #:3047
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·Vaccinate."
·2· · · ·Q.· ·What is the title of the third page, please?
·3· · · ·A.· ·"Personal Beliefs Exemption to Required
·4· ·Immunizations."
·5· · · ·Q.· ·Looking at the third page where it says,
·6· ·"Personal Beliefs Exemption to Required Immunizations,"
·7· ·do you believe this to be a California standard form?
·8· · · ·A.· ·It appears to be.
·9· · · ·Q.· ·Can you please read on the top, what does it
10· ·say?
11· · · ·A.· ·"State of California Health and Human Services
12· ·Agency."
13· · · ·Q.· ·And then there's another --
14· · · ·A.· ·On the other side, "California Department of
15· ·Social Services Community Care Licensing."
16· · · ·Q.· ·Have you ever seen a form like this before?
17· · · ·A.· ·Aside of this case, I don't believe I have.
18· · · ·Q.· ·So when you received this document, what did
19· ·they mean to you?
20· · · ·A.· ·This means to me that it appears that she had
21· ·a -- she completed these forms declining to vaccinate
22· ·her daughter and submitted these forms to the school,
23· ·as required by the school, as far as I understand it.
24· · · ·Q.· ·And did you -- do you know if the child was
25· ·able to go to the school once the mother had submitted


                                   Stephen Carey
                                   March 29, 2019                           31YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 33 of 78 Page ID #:3048
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·these forms to St. Marks?
·2· · · ·A.· ·I don't know what the requirements were, but I
·3· ·do believe she was attending St. Marks School.
·4· · · ·Q.· ·How about the next page, where it says,
·5· ·"Refusal to Vaccinate," second page of the attachment.
·6· · · · · · Does this appear to be a standard form, to
·7· ·you, as well?
·8· · · ·A.· ·It appears to be.
·9· · · ·Q.· ·Can you read the date at the bottom?
10· · · ·A.· ·At the bottom, it says, "American Academy of
11· ·Pediatrics."
12· · · ·Q.· ·What does this tell you?
13· · · ·A.· ·It appears to be a form related to the American
14· ·Academy of Pediatrics.
15· · · ·Q.· ·Do you think that this form allowed physicians
16· ·to have a signed waiver or refusal to vaccinate on
17· ·file?
18· · · · · · MR. BURKWITZ:· Calls for speculation, no
19· ·foundation.
20· ·BY MS. SEROBIAN:
21· · · ·Q.· ·What do you think this form means?
22· · · · · · MR. BURKWITZ:· Calls for speculation.
23· ·BY MS. SEROBIAN:
24· · · ·Q.· ·Just reading from the title, what do you think
25· ·this form means?


                                   Stephen Carey
                                   March 29, 2019                           32YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 34 of 78 Page ID #:3049
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · · · · MR. BURKWITZ:· No foundation.
·2· ·BY MS. SEROBIAN:
·3· · · ·Q.· ·Can you read the title for us, please.
·4· · · ·A.· ·The title is "Refusal to Vaccinate."
·5· · · ·Q.· ·Read for us who are the parties, the child and
·6· ·parent's name.
·7· · · ·A.· ·The child's name is Penelopy Estelle Garcia,
·8· ·parent's name Lucy Ulikhanova.
·9· · · ·Q.· ·Is there also a doctor's name?
10· · · ·A.· ·Dr. Boxtein.
11· · · ·Q.· ·Do you see signatures at the bottom?
12· · · ·A.· ·I do see signatures at the bottom.
13· · · ·Q.· ·Could you please tell us what you see?
14· · · ·A.· ·I can't make out either of the signatures, but
15· ·there are two signatures, a parent's signature, and it
16· ·does look like "Lucy" is the first name, dated
17· ·11/13/12.· I cannot make out the witness signature
18· ·dated 11/13/12.
19· · · ·Q.· ·When you received these forms attachment sent
20· ·to you by the mother Lucy Ulikhanova, did you submit
21· ·these forms to the juvenile court?
22· · · ·A.· ·I don't recall.· I don't -- I submitted most
23· ·everything that she submitted in an e-mail attachment,
24· ·which was extensive.· I don't specifically recall if I
25· ·attached this or not.


                                   Stephen Carey
                                   March 29, 2019                           33YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 35 of 78 Page ID #:3050
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·Moving on to top of Exhibit 5, previously
·2· ·marked.· Counsel should have Exhibit 5.
·3· · · · · · MR. BURKWITZ:· I do.
·4· ·BY MS. SEROBIAN:
·5· · · ·Q.· ·Could you please tell us the e-mail
·6· ·communications, from, to, subject and date, please?
·7· · · ·A.· ·E-mail from Stephen Carey, subject:· Lucy
·8· ·Ulikhanova set on hearing on 6/9/16."· June 9th, 2016.
·9· · · · · · The date of this e-mail is June 3, 2016.
10· · · ·Q.· ·Who did you send this e-mail to, please?
11· · · ·A.· ·This e-mail was sent to -- it appears to be
12· ·R. Funk -- I think Ronald Funk is his name -- and Lucy
13· ·Ulikhanova and cc'd to Maral Helwajian.
14· · · ·Q.· ·Could you please tell us what was the intent of
15· ·this e-mail?
16· · · ·A.· ·The intent of this e-mail was to provide
17· ·written notice of a hearing to address two issues for
18· ·an ex parte walk-on hearing -- I don't know if it's
19· ·ex parte -- a walk-on hearing requesting an order from
20· ·the court regarding first that the court issue a
21· ·temporary order restraining the mother from paternal
22· ·aunt and family members living at the residence, her
23· ·residence and her business.
24· · · · · · The second issue was the court order Penelopy
25· ·be vaccinated so that she could attend school.


                                   Stephen Carey
                                   March 29, 2019                           34YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 36 of 78 Page ID #:3051
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·Do you remember if you prepared a report for
·2· ·this hearing?
·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·Do you remember if you attached to this report
·5· ·the documents the mother provided to you earlier in her
·6· ·April 2016 e-mail?
·7· · · ·A.· ·I don't recall if I did or not.
·8· · · ·Q.· ·Do you think it would have been important for
·9· ·the court to know that the mother had signed a waiver or
10· ·refusal to vaccinate her child and, you know, have a
11· ·doctor's signature on it as well, before having the
12· ·court decide on the issue of vaccinating Penelopy?
13· · · ·A.· ·So at this point in the case -- I'm sorry; can
14· ·you repeat the question?
15· · · ·Q.· ·Sure.
16· · · · · · Can you read it back, please.
17· · · · · · (Record read.)
18· · · · · · THE WITNESS:· Sure.
19· ·BY MS. SEROBIAN:
20· · · ·Q.· ·And is there a reason that you did not attach
21· ·those documents to your report for this June 9, 2016
22· ·hearing?
23· · · ·A.· ·I don't know that I did not attach it.· I can
24· ·think -- if it was not attached, I can think of a few
25· ·issues about why that may not have been attached.


                                   Stephen Carey
                                   March 29, 2019                           35YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 37 of 78 Page ID #:3052
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · · · · Would you like me to explain those?
·2· · · ·Q.· ·Yes, please tell us your issues.
·3· · · ·A.· ·So my specific role as a dependency
·4· ·investigator is to conduct an investigation as to the
·5· ·allegations in the petition and to make recommendations
·6· ·based on those allegations.· That is the scope of my
·7· ·assignment.
·8· · · · · · Maral's -- the case carrying social workers are
·9· ·responsible for services-related issues on any assigned
10· ·case.· The issue of -- the issue of immunization is a
11· ·services-related issue.
12· · · · · · The issue of -- the issue of -- the restraining
13· ·order is both a services-related issue and related to
14· ·the allegations in the petition.
15· · · · · · So the issue of the vaccination is an issue
16· ·that I was involved with only peripherally.
17· · · ·Q.· ·Okay, I understand that part.
18· · · · · · However, it would make more sense to me, had
19· ·you not sent this e-mail noticing the mother and her
20· ·attorney about the hearings specifically set to decide
21· ·on the issue of vaccination.· So you are the one
22· ·noticing; it's sent from you, not Maral.· And you
23· ·testified that you also wrote a report for this
24· ·hearing.
25· · · ·A.· ·Uh-huh.


                                   Stephen Carey
                                   March 29, 2019                           36YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 38 of 78 Page ID #:3053
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·A little more than just very limited
·2· ·involvement.· You noticed them for the ex parte or
·3· ·special hearing, and you also wrote a report for that
·4· ·hearing.
·5· · · · · · That's why I am asking what would be the reason
·6· ·of not including this state-provided forms that mother
·7· ·have previously signed excusing or exempting her child
·8· ·from being vaccinated to the juvenile court for
·9· ·consideration?
10· · · ·A.· ·The only reason I can think of is it is not
11· ·something -- the issue is not something that was
12· ·particularly on my radar, and that it is not an issue
13· ·that is in my scope of responsibility, and that it was
14· ·not specifically related to the allegations in the
15· ·petition.
16· · · · · · And the purpose of the hearing was -- and that
17· ·they were noticed -- the purpose of this was to notice
18· ·them of the hearing.
19· · · ·Q.· ·Were you present in that hearing on June 9th?
20· · · ·A.· ·I don't know if I was present or not.
21· · · ·Q.· ·Do you know if the hearing took place that day
22· ·or was it continued?
23· · · ·A.· ·I believe it was continued, but I don't know
24· ·that for sure.
25· · · ·Q.· ·I believe I gave you the exhibit previously,


                                   Stephen Carey
                                   March 29, 2019                           37YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 39 of 78 Page ID #:3054
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·Exhibit 13.
·2· · · · · · If you could take a look back again.
·3· · · · · · This is for the June 10, 2016 hearing.
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·Please read line 9 for me on page 2, line 9.
·6· · · ·A.· ·Line 9, page 2:
·7· · · · · · · · "The court authorizes the
·8· · · · · · immunization over the mother's
·9· · · · · · objection."
10· · · ·Q.· ·Is it fair to say that maybe the June 9th
11· ·hearing was continued to June 10th, and orders were made
12· ·on June 10th?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·Could you please read from page 1 of this
15· ·exhibit under "Parties," could you please tell us where
16· ·it says, "Also present," could you please read the also
17· ·present line and then the line after it?
18· · · ·A.· · "Also present in court are the
19· · · · · · paternity grandparents, father's
20· · · · · · significant other and two
21· · · · · · witnesses."
22· · · ·Q.· ·Do you think you were one of two witnesses not
23· ·named?
24· · · ·A.· ·No.
25· · · · · · The only reason I say that is I think if the


                                   Stephen Carey
                                   March 29, 2019                           38YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 40 of 78 Page ID #:3055
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·dependency investigator were present, they would specify
·2· ·the dependency investigator as present.
·3· · · ·Q.· ·But you are not certain?· It does say two
·4· ·witnesses, and there's no name.
·5· · · · · · Do you remember being present at this hearing?
·6· · · ·A.· ·I don't recall being present in this hearing,
·7· ·but I am a legal party to the hearing, and they would
·8· ·have named me.
·9· · · ·Q.· ·Moving on to Exhibit 7, previously marked,
10· ·counsel has it.
11· · · · · · Can you please tell us who is the e-mail from,
12· ·if you were copied, the date on it and the general
13· ·contact.· Then I will ask you to read certain portions
14· ·of it.
15· · · ·A.· ·Could you please repeat the question?· There
16· ·were many parts to that.
17· · · ·Q.· ·From, to, date, subject line, if you could
18· ·please read those things for me.
19· · · ·A.· ·From Lucy Ulikhanova to @ --" it's my county
20· ·e-mail.· The date is Saturday, June 4th of 2016.
21· · · ·Q.· ·What is the subject line?· It's at the top
22· ·here.
23· · · ·A.· ·Oh, the title on top says, "Vaccines Regarding
24· ·Lucy Ulikhanova Set on Hearing on 6/9/16."
25· · · ·Q.· ·So would this be Lucy's response to your notice


                                   Stephen Carey
                                   March 29, 2019                           39YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 41 of 78 Page ID #:3056
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·regarding the hearing?
·2· · · ·A.· ·It appears so.
·3· · · ·Q.· ·Could you please read for me the second
·4· ·paragraph where it starts with, "You know..."
·5· · · ·A.· ·Okay, I do see a line -- a skipped line break
·6· ·where it begins, "You know..."
·7· · · · · · Is that where you are --
·8· · · ·Q.· ·Yes, please.
·9· · · ·A.· ·It says:
10· · · · · · · · "You know that this subject
11· · · · · · touches close to me.· You know my
12· · · · · · father was a pioneer leader in
13· · · · · · alternative healthcare in this
14· · · · · · country, to attempt this what she's
15· · · · · · not even legal age to go to school
16· · · · · · and is not in jurisdiction shows
17· · · · · · you are antagonist."
18· · · ·Q.· ·Let me ask you a question.
19· · · · · · What does she mean here saying "... she is not
20· ·even legal age to go to school ..."?
21· · · · · · What does the mother mean when she says that?
22· · · · · · MR. BURKWITZ:· Calls for speculation.
23· ·BY MS. SEROBIAN:
24· · · ·Q.· ·What is your understanding?
25· · · · · · MR. BURKWITZ:· You can answer.


                                   Stephen Carey
                                   March 29, 2019                           40YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 42 of 78 Page ID #:3057
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · · · · THE WITNESS:· Okay.· I -- I don't know.· She's
·2· ·not legal age to go to school --
·3· ·BY MS. SEROBIAN:
·4· · · ·Q.· ·What is the legal age to go to school?
·5· · · ·A.· ·Five years old.· My understanding is five years
·6· ·old.
·7· · · ·Q.· ·Did you testify earlier that the legal age to
·8· ·go to school is first grade?
·9· · · · · · MR. BURKWITZ:· Misstates the evidence.
10· ·BY MS. SEROBIAN:
11· · · ·Q.· ·What is your understanding under California
12· ·law?
13· · · · · · When are the children legally required to go
14· ·to school?
15· · · ·A.· ·Legally required, first grade.
16· · · ·Q.· ·First grade.
17· · · · · · Is five years old first grade?
18· · · · · · MR. BURKWITZ:· Calls for speculation,
19· ·overbroad.
20· ·BY MS. SEROBIAN:
21· · · ·Q.· ·What age, generally, the child needs to be to
22· ·be enrolled in the first grade?
23· · · · · · MR. BURKWITZ:· Lacks foundation, overbroad,
24· ·speculation.
25· · · · · · You can answer.


                                   Stephen Carey
                                   March 29, 2019                           41YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 43 of 78 Page ID #:3058
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·BY MS. SEROBIAN:
·2· · · ·Q.· ·Do you know the California law that applies to
·3· ·how old a child needed to be to be enrolled in first
·4· ·grade?
·5· · · ·A.· ·I don't know the specific cut-off times.· It
·6· ·could be five or six years old.
·7· · · ·Q.· ·So when the child is five years old, they could
·8· ·be enrolled in the first grade; is that your
·9· ·understanding?
10· · · ·A.· ·I don't know what the cut-off ages are.
11· · · ·Q.· ·Do you know the cut-off for the County of
12· ·Los Angeles?
13· · · ·A.· ·No, I don't know the specific date of the
14· ·cut-off of Los Angeles Unified School District.
15· · · ·Q.· ·If I tell you that the child needs to be six
16· ·years old before September 1st of that academic year to
17· ·enroll in first grade, would that sound right?
18· · · ·A.· ·That could be fine, sure.
19· · · ·Q.· ·What does the mother mean when she says here,
20· ·"... and is not in jurisdiction..."?
21· · · · · · What does that mean to you?
22· · · · · · MR. BURKWITZ:· Calls for speculation what the
23· ·mother means or what she is meaning.
24· · · · · · THE WITNESS:· If I take this line and look at
25· ·this line in the context of what we are discussing now,


                                   Stephen Carey
                                   March 29, 2019                           42YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 44 of 78 Page ID #:3059
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·she is talking about -- and this is only based on
·2· ·questions you have asked me leading me to this point.
·3· ·BY MS. SEROBIAN:
·4· · · ·Q.· ·Yes.
·5· · · ·A.· ·That, again, based on your question saying
·6· ·that the court has not made its dispositional ruling,
·7· ·that that's what she is talking about.
·8· · · ·Q.· ·That's your understanding?
·9· · · ·A.· ·That is my understanding now, after you have
10· ·asked your questions leading into this point, yes.
11· · · · · · At the time, I would not have understood that.
12· · · ·Q.· ·Can you then read the next paragraph following
13· ·the one you just read, where it starts with, "There..."
14· · · ·A.· ·Yes.
15· · · · · · · · "There are support groups teams
16· · · · · · out there thousands of mothers,
17· · · · · · fathers against this.· My father
18· · · · · · healed children who were sick on
19· · · · · · vaccines, suffered side effects and
20· · · · · · autism."
21· · · ·Q.· ·Does this tell you that mother had a personal
22· ·knowledge or experience with children affected
23· ·negatively after vaccinations?
24· · · ·A.· ·No.
25· · · ·Q.· ·What does it tell you?


                                   Stephen Carey
                                   March 29, 2019                           43YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 45 of 78 Page ID #:3060
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·A.· ·It tells me that her father healed children
·2· ·who were sick on vaccines, suffered side effects of
·3· ·autism.
·4· · · ·Q.· ·Does it also tell you that there are thousands
·5· ·of other parents and support groups complaining of this
·6· ·issue?
·7· · · ·A.· ·Yes.
·8· · · ·Q.· ·Can you then read the paragraph, skipping the
·9· ·one in between, that says, "You will not..."
10· · · ·A.· ·Yes.
11· · · ·Q.· ·And then the sentence afterwards, please.
12· · · ·A.· · "You will not force vaccination
13· · · · · · on my child.· I will be the decider
14· · · · · · of that and what vaccine it will
15· · · · · · be."
16· · · ·Q.· ·What is mother trying to enforce here; what do
17· ·you think?
18· · · ·A.· ·She is trying to enforce that she does not want
19· ·her child vaccinated.
20· · · ·Q.· ·Do you think she is trying to enforce her right
21· ·as a parent to decide whether her child is going to be
22· ·vaccinated or not?
23· · · ·A.· ·Certainly.
24· · · ·Q.· ·Did you have discussions with the mother
25· ·regarding her personal experience with side effects of


                                   Stephen Carey
                                   March 29, 2019                           44YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 46 of 78 Page ID #:3061
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·an immunizing as a child or vaccinated?
·2· · · ·A.· ·I don't recall.
·3· · · ·Q.· ·Looking back to the same exhibit to the
·4· ·paragraph I asked you to skip, where it starts with,
·5· ·"I, myself..."
·6· · · · · · Could you please read that?
·7· · · ·A.· · "I, myself, my brother brought me
·8· · · · · · up on vaccines by my mother.· We
·9· · · · · · didn't know at the time the
10· · · · · · ingredients.· I have nothing but
11· · · · · · health issues, allergic reactions.
12· · · · · · Once my father switched me to an
13· · · · · · organic lifestyle, those started to
14· · · · · · fade."
15· · · ·Q.· ·Does this kind of shine a light on her own
16· ·personal negative experience with vaccinations?
17· · · · · · MR. BURKWITZ:· Calls for speculation, no
18· ·foundation.
19· ·BY MS. SEROBIAN:
20· · · ·Q.· ·What is she trying to convey to you here in
21· ·that paragraph?
22· · · · · · MR. BURKWITZ:· Calls for speculation.
23· · · · · · You can answer.
24· · · · · · THE WITNESS:· I think my hesitancy is that --
25· ·well, first of all, I don't make any sense of those


                                   Stephen Carey
                                   March 29, 2019                           45YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 47 of 78 Page ID #:3062
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·two -- of those two lines, I don't understand anything
·2· ·she is saying.· It is a completely incoherent sentence.
·3· ·BY MS. SEROBIAN:
·4· · · ·Q.· ·It might have typos, but it does say something.
·5· ·It does have typos.· Not that she needs to speak perfect
·6· ·English or write perfect English?
·7· · · · · · MR. BURKWITZ:· Don't answer the question.
·8· · · · · · You are just arguing with him.· Next question.
·9· ·It's ridiculous.
10· ·BY MS. SEROBIAN:
11· · · ·Q.· ·Do you deal with people of different
12· ·ethnicities and backgrounds as a social worker?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·Are there people who speak less English than
15· ·you?
16· · · ·A.· ·Yes.
17· · · ·Q.· ·Are there people who write less of an English
18· ·than you?
19· · · ·A.· ·Yes.
20· · · ·Q.· ·Do you assume that they are all incoherent when
21· ·they are writing you most typos?
22· · · ·A.· ·No.
23· · · ·Q.· ·Do you judge them based on the way they speak
24· ·English?
25· · · ·A.· ·No.


                                   Stephen Carey
                                   March 29, 2019                           46YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 48 of 78 Page ID #:3063
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·Did you ever consider maybe speaking to mother
·2· ·or looking into getting a medical exemption for child
·3· ·Penelopy before enrolling her in school?
·4· · · · · · MR. BURKWITZ:· Lacks foundation.
·5· · · · · · MS. SEROBIAN:· I am asking if he considered.
·6· · · · · · MR. BURKWITZ:· It lacks foundation that it
·7· ·existed.
·8· · · · · · You can answer.
·9· ·BY MS. SEROBIAN:
10· · · ·Q.· ·Did you consider, you, you consider seeking a
11· ·medical exemption for child Penelopy?
12· · · · · · MR. BURKWITZ:· Lacks foundation.
13· · · · · · THE WITNESS:· No.
14· ·BY MS. SEROBIAN:
15· · · ·Q.· ·Did you not consider because you did not know
16· ·it existed?
17· · · ·A.· ·No.
18· · · ·Q.· ·I don't understand the "no."· Can you please
19· ·explain what the "no" means?
20· · · · · · Did you know that medical exemption existed?
21· · · ·A.· ·I was not aware of all of the medical
22· ·exemptions.· I knew that there were medical exemptions.
23· ·I understood that there were exemptions.
24· · · · · · Did I consider a medical exemption for
25· ·Penelopy?· The answer is no.


                                   Stephen Carey
                                   March 29, 2019                           47YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 49 of 78 Page ID #:3064
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · · · · MS. SEROBIAN:· I am going to refer you to
·2· ·Exhibit 9, previously marked.
·3· · · · · · Counsel has it.
·4· · · · · · Take a moment to read this and tell us who is
·5· ·the author of this exhibit, the date and the subject of
·6· ·this.
·7· · · ·A.· ·This appears to be a letter from South Park
·8· ·doctor.· Looks like at the bottom, it says, "Dr. Tara
·9· ·Zandvliet," dated May 23, 2017.
10· · · ·Q.· ·Can you please read for yourself and then tell
11· ·us what this means, this letter?
12· · · ·A.· ·All right.
13· · · ·Q.· ·What is this letter telling you?
14· · · ·A.· ·Well, it appears to be a doctor giving medical
15· ·reasons why this doctor feels Penelopy is at high risk
16· ·of an adverse reaction to vaccines.
17· · · ·Q.· ·Do you know if such a medical exemption is
18· ·sufficient to enroll a child in a public school and skip
19· ·immunization under the current law?
20· · · ·A.· ·No.
21· · · ·Q.· ·You don't know or it's not sufficient?
22· · · ·A.· ·I don't know it.
23· · · ·Q.· ·Would it surprise you to learn that the child
24· ·presently is enrolled in Glendale Unified and no longer
25· ·required to be immunized, based on this medical


                                   Stephen Carey
                                   March 29, 2019                           48YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 50 of 78 Page ID #:3065
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·exemption?
·2· · · ·A.· ·Okay.
·3· · · ·Q.· ·Would it surprise you to know that?
·4· · · ·A.· ·No.
·5· · · ·Q.· ·But you were not aware of such an option?
·6· · · ·A.· ·No.
·7· · · ·Q.· ·You were not trained on the similar options by
·8· ·your employer, County of Los Angeles?
·9· · · ·A.· ·I don't believe so.
10· · · ·Q.· ·Turning to previously marked Exhibit 11, can
11· ·you please tell us the parties to this e-mail, the
12· ·date, subject line, and then if it has an attachment or
13· ·not.
14· · · ·A.· ·So it is from Maral Helwajian, subject is,
15· ·"Medical information," and it is sent on March 23, 2017
16· ·to Lucy Ulikhanova.
17· · · ·Q.· ·Does it have an attachment?
18· · · ·A.· ·It is unclear to me, based on this, if this --
19· ·it looks like there was a previous e-mail and a thread
20· ·that had an attachment.
21· · · ·Q.· ·Can you please read the line written by sender
22· ·Maral Helwajian?
23· · · ·A.· · "This is all the medical info
24· · · · · · I have on Penelopy.· Hope this
25· · · · · · document helps."


                                   Stephen Carey
                                   March 29, 2019                           49YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 51 of 78 Page ID #:3066
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·Can you turn to the document and please tell
·2· ·us the title of the document?
·3· · · ·A.· ·Confidential Health and Education Passport.
·4· · · ·Q.· ·Are you familiar with this type of documents?
·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·What does this document represent to you?
·7· · · ·A.· ·This is a document that social workers and
·8· ·nurses input information regarding the children's health
·9· ·and education.
10· · · ·Q.· ·Is it a standard document that the Department
11· ·of Children and Family Services uses to document the
12· ·healthcare received by the children in their care?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·Turning to pages 4 and 5 under,
15· ·"Immunizations."
16· · · ·A.· ·Yes.
17· · · ·Q.· ·What would this line of information tell you,
18· ·under "Immunizations"?
19· · · ·A.· ·That all immunizations waived dated 11/13/2012.
20· · · · · · Source of information, Dr. Boxtein.
21· · · ·Q.· ·Then following that date, what are the entries?
22· · · ·A.· ·Looks like a series of vaccinations, "IPV, date
23· ·given, 10/06/2016."
24· · · ·Q.· ·I will ask in a general.· You don't have to
25· ·read each one, but looking at pages 4 and 5 under the


                                   Stephen Carey
                                   March 29, 2019                           50YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 52 of 78 Page ID #:3067
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·topic "Immunizations" following the line where it says
·2· ·"All immunizations waived."
·3· · · · · · How many immunizations do you see?
·4· · · ·A.· ·Appears to be roughly 18.
·5· · · ·Q.· ·Are there any current dates associated with the
·6· ·immunizations?
·7· · · ·A.· ·Any?
·8· · · ·Q.· ·Common dates.· It looks like --
·9· · · ·A.· ·Oh, yes.· It appears I see three or four.· It
10· ·looks like June 10, 2016, August 9, 2016, January 19 of
11· ·2017, and it looks like there's another, October 6 of
12· ·2016.
13· · · ·Q.· ·Did you inform the mother prior to this
14· ·appointment that the immunizations were going to be
15· ·taking place?
16· · · ·A.· ·No.
17· · · ·Q.· ·Did you ever invite her to attend --
18· · · ·A.· ·No.· Sorry.
19· · · ·Q.· ·No problem.· Just for a clear record.
20· · · · · · Did you ever invite her to attend any of these
21· ·appointments with Penelopy?
22· · · ·A.· ·No.
23· · · ·Q.· ·Did she ask you to be present at any of
24· ·Penelopy's medical appointments?
25· · · ·A.· ·Who is "she"?


                                   Stephen Carey
                                   March 29, 2019                           51YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 53 of 78 Page ID #:3068
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·"She" being the mother; I am sorry.
·2· · · ·A.· ·I don't believe so.
·3· · · ·Q.· ·Did you maybe make a statement to her --
·4· ·Ms. Maral Helwajian told us previously that there was a
·5· ·conflict, that therefore the mother was denied entry to
·6· ·this appointment, a conflict with the paternal aunt.
·7· · · · · · Did you ever tell the mother that there's a
·8· ·conflict with the paternal aunt, and she cannot be at
·9· ·the medical appointment?
10· · · ·A.· ·I don't recall.
11· · · ·Q.· ·Did you ever authorize the father of the child
12· ·to be present at the medical appointments?
13· · · · · · MR. BURKWITZ:· Lacks foundation.
14· ·BY MS. SEROBIAN:
15· · · ·Q.· ·Do you recall?
16· · · ·A.· ·No.· I didn't have anything to do with those
17· ·appointments.
18· · · ·Q.· ·So it would be part of the servicing social
19· ·worker's duties?
20· · · ·A.· ·Yes.
21· · · ·Q.· ·Did you investigate the father in this case as
22· ·part of the dependency investigator?
23· · · ·A.· ·Yes.
24· · · ·Q.· ·Did he test positive for methamphetamine while
25· ·you were on the case?


                                   Stephen Carey
                                   March 29, 2019                           52YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 54 of 78 Page ID #:3069
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·A.· ·I don't recall if he tested positive for
·2· ·methamphetamines prior to adjudication or after
·3· ·adjudication.
·4· · · · · · I know that he did test positive for
·5· ·methamphetamine.
·6· · · ·Q.· ·Did he miss any court-ordered drug test while
·7· ·you were on the case?
·8· · · ·A.· ·I don't recall.
·9· · · ·Q.· ·Was he ordered to do drug tests while you were
10· ·the investigator on the case?
11· · · ·A.· ·I believe so, but I don't know for certain.                I
12· ·don't recall.
13· · · ·Q.· ·Do you know if the child was eventually removed
14· ·from the foster placement of the paternal aunt?
15· · · ·A.· ·Can you clarify your question?
16· · · ·Q.· ·Do you know if the child was eventually
17· ·removed from the foster placement of the paternal aunt?
18· · · ·A.· ·I don't know.
19· · · ·Q.· ·Do you know if the child was ever returned to
20· ·the mother's custody?
21· · · ·A.· ·I believe she was returned to the mother's
22· ·custody.
23· · · ·Q.· ·Do you know of the exit orders when the child
24· ·was returned to the mother's custody?
25· · · ·A.· ·No.


                                   Stephen Carey
                                   March 29, 2019                            53
                                                                              YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 55 of 78 Page ID #:3070
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·Do you know if jurisdiction is terminated in
·2· ·this case?
·3· · · ·A.· ·I believe it's terminated.
·4· · · ·Q.· ·But you do not know who is the custodial
·5· ·parent?
·6· · · ·A.· ·No.
·7· · · ·Q.· ·Do you know who was the custodial parent prior
·8· ·to the beginning of the case?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·Who was that?
11· · · ·A.· ·The mother.
12· · · ·Q.· ·Do you know if mother also has sole legal
13· ·custody rights?
14· · · ·A.· ·I believe so, yes.
15· · · ·Q.· ·Do you know what type of visitation father was
16· ·permitted prior to the dependency case being initiated?
17· · · ·A.· ·I believe he had monitored visits.
18· · · ·Q.· ·And do you think that remains so for the
19· ·remainder of the case?
20· · · ·A.· ·Yes.
21· · · ·Q.· ·And do you think that remains so why the case
22· ·closed?
23· · · ·A.· ·I don't know what the exit orders were.                 I
24· ·assume so.
25· · · ·Q.· ·Do you know if the father was in compliance


                                   Stephen Carey
                                   March 29, 2019                           54YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 56 of 78 Page ID #:3071
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·with the court's orders?
·2· · · ·A.· ·I don't believe he was, but I don't know that
·3· ·for a fact.
·4· · · ·Q.· ·I'm going to turn to Exhibit 17, previously
·5· ·marked.
·6· · · · · · Please take a look at this document and tell us
·7· ·what it is and where it's from.· The last page will help
·8· ·you find that information.
·9· · · ·A.· ·Okay.
10· · · ·Q.· ·Great, can you please tell us where is this
11· ·document from and what is this document?
12· · · ·A.· ·I honestly -- it appears to be medical
13· ·records.
14· · · ·Q.· ·Maybe the last page would help, the last page
15· ·of the document.
16· · · ·A.· ·The last page at the bottom says, "Burbank
17· ·Pediatric Affiliates."
18· · · ·Q.· ·Who is the patient in this case -- I mean, the
19· ·medical chart?
20· · · ·A.· ·Penelopy Garcia.
21· · · ·Q.· ·Turning your attention to page 4 of this
22· ·medical chart for Penelopy.
23· · · · · · Can you please tell us the date?
24· · · ·A.· ·This 4 of 8 as indicated in the bottom
25· ·right-hand corner?


                                   Stephen Carey
                                   March 29, 2019                           55YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 57 of 78 Page ID #:3072
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·Q.· ·Yes.
·2· · · ·A.· ·What is the question?
·3· · · ·Q.· ·You already told us the name of the patient,
·4· ·Penelopy, but can you tell us the date of the visit for
·5· ·which these notes were taken?
·6· · · ·A.· ·December 6th of 2016 is the office visit.
·7· · · ·Q.· ·Can you please read the paragraph under the
·8· ·line that says "subjective"?
·9· · · ·A.· · "This 6-year, 1-month-old female
10· · · · · · presents with father and Nathan
11· · · · · · (supervisor) for evaluation of the
12· · · · · · following problems:· Had a cough for
13· · · · · · two weeks resolved for one week.
14· · · · · · Cough returned three days ago.
15· · · · · · Sounds croupy.· Has been afebrile,
16· · · · · · has a low-grade temp right now,
17· · · · · · also gets congested, couch gets
18· · · · · · worse in the evening."
19· · · ·Q.· ·Did you permit the father to attend this
20· ·medical appointment?
21· · · · · · MR. BURKWITZ:· Lacks foundation.
22· ·BY MS. SEROBIAN:
23· · · ·Q.· ·Do you recall permitting the father to attend
24· ·this medical appointment for Penelopy?
25· · · · · · MR. BURKWITZ:· Lacks foundation.


                                   Stephen Carey
                                   March 29, 2019                           56YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 58 of 78 Page ID #:3073
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · · · · THE WITNESS:· Yes.
·2· ·BY MS. SEROBIAN:
·3· · · ·Q.· ·Do you know who Nathan is, titled
·4· ·"Supervisor"?
·5· · · ·A.· ·I don't recall Nathan.
·6· · · ·Q.· ·Do you recall Nathan being one of the monitors
·7· ·by the Department?
·8· · · ·A.· ·Honestly, I don't recall.
·9· · · ·Q.· ·Do you know if father was permitted to attend
10· ·the medical appointments for the child?
11· · · ·A.· ·I don't know.
12· · · ·Q.· ·Do you know if Plaintiff here, mother,
13· ·Ulikhanova, was concerned that father was having
14· ·unauthorized contact with the child while in the care
15· ·of the paternal?
16· · · · · · MR. BURKWITZ:· Objection, calls for
17· ·speculation.
18· ·BY MS. SEROBIAN:
19· · · ·Q.· ·Did the mother ever express to you this
20· ·concern?
21· · · ·A.· ·Yes.
22· · · ·Q.· ·On how many occasions did she express to you
23· ·this concern?
24· · · ·A.· ·Several.
25· · · ·Q.· ·It was her continued concern that the father


                                   Stephen Carey
                                   March 29, 2019                           57YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 59 of 78 Page ID #:3074
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·was having unmonitored or unauthorized contact with
·2· ·Penelopy while the child was placed in the home of her
·3· ·paternal aunt?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·Could that have been one of the reasons the
·6· ·child was removed from the home of the paternal aunt?
·7· · · ·A.· ·I am unaware of the child being removed from
·8· ·the paternal aunt, so I don't understand your question.
·9· · · ·Q.· ·If I tell you that the child was removed from
10· ·the home of the paternal aunt sometime in December of
11· ·2016, would that surprise you?
12· · · ·A.· ·Yes.
13· · · · · · I had never heard of that.
14· · · ·Q.· ·You did not review any of the notes following
15· ·the disposition hearing to know that the removal took
16· ·place?
17· · · ·A.· ·No, I did not.
18· · · ·Q.· ·Did you share mother's concern that maybe
19· ·father was having unauthorized contact in the home of
20· ·the paternal aunt?
21· · · · · · MR. BURKWITZ:· Lacks foundation, overbroad.
22· · · · · · Go ahead.
23· · · · · · THE WITNESS:· It was certainly something I
24· ·took into consideration and certainly listened to the
25· ·mother's concern and discussed with the social worker.


                                   Stephen Carey
                                   March 29, 2019                           58YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 60 of 78 Page ID #:3075
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · · · · Yes, there is a concern that we were aware of
·2· ·and discussed.
·3· ·BY MS. SEROBIAN:
·4· · · ·Q.· ·Did the father in this case make any threats
·5· ·against you?
·6· · · ·A.· ·I don't recall if he made threats against me,
·7· ·but I would not be surprised if he had.
·8· · · ·Q.· ·Do you know if the father in this case made
·9· ·threats against other servicing social workers like
10· ·Maral or monitors?
11· · · ·A.· ·I don't recall specifics.· I do recall that he
12· ·made threats.
13· · · ·Q.· ·Do you know of the Department's actions to
14· ·protect the employees against those threats, if any?
15· · · ·A.· ·I don't recall.
16· · · ·Q.· ·What is the standard procedure to protect
17· ·social workers against threats, do you know?
18· · · · · · MR. BURKWITZ:· Overbroad, calls for
19· ·speculation.
20· ·BY MS. SEROBIAN:
21· · · ·Q.· ·Does the Department have policies to protect
22· ·their social workers against threats or practice --
23· ·policy or practice?
24· · · ·A.· ·I don't know that there is anything that anyone
25· ·can do to protect anyone from a threat, other than,


                                   Stephen Carey
                                   March 29, 2019                           59YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 61 of 78 Page ID #:3076
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·once a threat is made, to then take appropriate measures
·2· ·to make sure that all parties are safe after something
·3· ·like that happens.
·4· · · ·Q.· ·Sure.
·5· · · · · · What are those appropriate measures that the
·6· ·Department would take in a circumstances where a threat
·7· ·is made?
·8· · · · · · MR. BURKWITZ:· It's overbroad.
·9· · · · · · THE WITNESS:· Can you be more specific?· Give
10· ·me a more specific scenario.
11· · · · · · MS. SEROBIAN:· Sure.
12· · · ·Q.· ·Hypothetically speaking, for example, if a
13· ·parent on a case makes a threat against a social worker
14· ·and/or a monitor and uses terminology such as "guns" or
15· ·"violence."
16· · · · · · What would be the next step the Department
17· ·would take to protect those employees?
18· · · ·A.· ·Okay, so it would be up to a social worker
19· ·whether they wanted to file a police report or not.
20· · · · · · But certainly I would want any future contacts
21· ·to be conducted -- at least any kind of face-to-face
22· ·contact to be conducted at the office and alerting the
23· ·security guard of the circumstances.
24· · · ·Q.· ·Would there at least be an incident report
25· ·taken?


                                   Stephen Carey
                                   March 29, 2019                           60YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 62 of 78 Page ID #:3077
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· · · ·A.· ·It would certainly -- it should be noted in the
·2· ·case notes, I would think.
·3· · · · · · We don't really have incident reports in our
·4· ·system to do something like that, other than document in
·5· ·the case file, or with our supervisors.
·6· · · · · · That's another thing we would do, we would also
·7· ·inform our supervisor and possibly our administrator if
·8· ·it was a serious threat.
·9· · · · · · We would certainly want to inform the
10· ·administrator so that they are aware of any need to
11· ·form any extra precautions.
12· · · ·Q.· ·Have you ever been trained as a social worker
13· ·regarding the steps to take when you are, you know,
14· ·being threatened with violence, for example, filing an
15· ·incident report, calling the police, taking certain
16· ·action.
17· · · · · · Are there any trainings regarding these issues?
18· · · ·A.· ·It was a long time ago that I was in training,
19· ·and I don't recall if there were specific trainings
20· ·about what to do if you were threatened with harm.
21· · · · · · I know in the course of my job, there have been
22· ·times when I have been threatened, and I informed my
23· ·supervisors, and I was given instructions about what to
24· ·do, if necessary.
25· · · · · · I know that we hear about other -- if something


                                   Stephen Carey
                                   March 29, 2019                           61YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 63 of 78 Page ID #:3078
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·like that happens, we sometimes hear about it in the
·2· ·office.· It does not happen often but occasionally.
·3· · · ·Q.· ·So there's no process to document it; there is
·4· ·no set procedure or practice to document things that
·5· ·are --
·6· · · ·A.· ·The common procedure that I am aware of is to
·7· ·document the case note, especially if it's -- especially
·8· ·if it is in the presence of children, that would
·9· ·definitely be an important issue to document in the case
10· ·notes and to inform the supervisor.
11· · · · · · If there's any threat to a social worker or any
12· ·employee, the safety of the social workers and employees
13· ·are important, also.
14· · · · · · MS. SEROBIAN:· I think that's it for me.
15· · · · · · MR. BURKWITZ:· I have no questions.
16· · · · · · Same stipulation?
17· · · · · · MS. SEROBIAN:· Yes.
18· · · · · · Within seven days, I will get the original,
19· ·correct?
20· · · · · · MR. BURKWITZ:· Correct.
21· · · · · · Same stipulation.
22· · · · · · (Previous stipulation as follows:
23· · · · · · (MR. BURKWITZ:· I will propose the following
24· ·stipulation.
25· · · · · · (We will have an agreement to relieve the court


                                   Stephen Carey
                                   March 29, 2019                           62YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 64 of 78 Page ID #:3079
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·reporter of her duties under the Code.
·2· · · · · · (She will forward the transcript directly to
·3· ·the witness, who will provide her office location off
·4· ·the record to the court reporter.
·5· · · · · · (The transcript will go directly to the
·6· ·witness.
·7· · · · · · (I will advise Ms. Serobian within seven days
·8· ·of her receipt of those transcripts if there's any
·9· ·changes to the transcript.
10· · · · · · (I will maintain the original transcript, but if
11· ·for whatever reason -- and I will produce it for
12· ·whatever purpose, law and motion, trial, whatever.
13· · · · · · (And an unsigned, certified copy can be used
14· ·in lieu thereof, regardless.
15· · · · · · (Good?
16· · · · · · (MS. SEROBIAN:· Good, unless -- should I order
17· ·my own transcript, too?
18· · · · · · (MR. BURKWITZ:· Yeah, unless you want to
19· ·maintain the copy of the original, and I will order the
20· ·transcript, whatever you want.
21· · · · · · (You want to keep the copy of the original?
22· ·That way, you won't have to order it.
23· · · · · · (MS. SEROBIAN:· Sure.
24· · · · · · (MR. BURKWITZ:· So we will just amend the
25· ·stipulation that I will provide the original transcript


                                   Stephen Carey
                                   March 29, 2019                           63YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 65 of 78 Page ID #:3080
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·back to Plaintiff's counsel, and I will order a copy of
·2· ·the transcript.
·3· · · · · · (And Ms. Serobian will have the transcript and
·4· ·will produce it, if necessary.
·5· · · · · · (MS. SEROBIAN:· Perfect.· So stipulated.)
·6· · · · · · (Ending time:· 3:00 p.m.)
·7
·8
·9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25


                                   Stephen Carey
                                   March 29, 2019                           64YVer1f
 Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 66 of 78 Page ID #:3081
                                 Atkinson-Baker, Inc.
                                   www.depo.com


·1· ·STATE OF CALIFORNIA· · · · · · ·)
· · · · · · · · · · · · · · · · · · ·)· SS.
·2· ·COUNTY OF LOS ANGELES· · · · · ·)

·3

·4

·5

·6

·7· · · · · ·I, the undersigned, declare under penalty of

·8· ·perjury that I have read the foregoing transcript,

·9· ·and I have made any corrections, additions or

10· ·deletions that I was desirous of making; that the

11· ·foregoing is a true and correct transcript of my

12· ·testimony contained therein.

13· · · · · ·EXECUTED this ____, day of ________________,

14· ·20 ___, at _____________________, __________________.
· · · · · · · · · · · (City)· · · · · · · · ·(State)
15

16

17

18

19

20

21
· · · · · · · · ·_______________________________
22
· · · · · · · · · · · · · STEPHEN CAREY
23

24

25


                                   Stephen Carey
                                   March 29, 2019                           65YVer1f
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 67 of 78 Page ID #:3082
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 68 of 78 Page ID #:3083
                                           Atkinson-Baker, Inc.
                                             www.depo.com                                  Index: 1..allergic

                                        16:15 21:16,20,21 22:5,15,21
                Exhibits                23:25 24:8,12 25:13 26:4,14                        9
                                        30:10 34:8,9 35:6,21 38:3 39:20
    AD03529B_Exhibit-01 4:10            51:10,12 56:6 58:11               9 35:21 38:5,6 48:2 51:10
     25:21,22                          2017 48:9 49:15 51:11              9th 34:8 37:19 38:10
    AD03529B_Exhibit-07 4:12           2019 66:21
     39:9
                                       23 48:9 49:15                                       A
    AD03529B_Exhibit-09 4:13
     48:2                              24 5:17 18:25 19:1                 academic 42:16
    AD03529B_Exhibit-11 4:15           25 18:23                           Academy 32:10,14
     49:10
                                                                          accuse 20:18
    AD03529B_Exhibit-13 4:17                            3
     10:18,19 38:1                                                        act 18:8
                                       3 5:15,18,21,23 6:2 29:11 34:9     acting 17:5 18:2
                      1                30th 26:14                         action 17:6 61:16 66:17
                                       31st 26:4                          actions 59:13
    1 25:21,22 38:14
                                       3:00 64:6                          additions 65:9
    1-month-old 56:9
    10 13:1 14:24 15:7,14 16:15 38:3                                      address 34:17
                                                        4
     51:10                                                                addressed 26:18
    10/06/2016 50:23                   4 50:14,25 55:21,24                adjudication 10:25 11:1,10
                                                                           12:10,16,18 13:5,11,16 15:8
    10th 11:5 38:11,12                 4th 39:20
                                                                           53:2,3
    11 11:8,9 49:10
                                                                          administrator 61:7,10
                                                        5
    11/13/12 33:17,18
                                                                          adverse 48:16
    11/13/2012 50:19                   5 34:1,2 50:14,25                  advise 63:7
    11th 66:21
                                                                          afebrile 56:15
    13 10:18,19 12:14 15:7 38:1                         6
                                                                          affected 43:22
    15 5:19                            6 51:11                            Affiliates 55:17
    16 12:10                           6-year 56:9                        afternoon 5:7
    16th 11:10 12:19                   6/9/16 34:8 39:24                  age 20:13 40:15,20 41:2,4,7,21
    17 55:4                            6th 30:10 56:6                     Agency 31:12
    18 51:4
                                                                          ages 42:10
    19 51:10                                            7
                                                                          agreement 62:25
    1st 42:16
                                       7 39:9                             ahead 58:22

                      2                                                   alerting 60:22
                                                        8
                                                                          allegation 15:11
    2 38:5,6                                                              allegations 6:24 7:15 11:3
                                       8 55:24
    20 5:19 65:14                                                          12:19,22 13:21 15:13 36:5,6,14
                                       8769 66:3,25                        37:14
    2016 7:24 8:4,7 10:13,16 11:5,8,
     9,11 12:10 13:2 14:24 15:7,14                                        allergic 45:11



                                                Stephen Carey
                                                March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 69 of 78 Page ID #:3084
                                            Atkinson-Baker, Inc.
                                              www.depo.com                           Index: allowed..children

    allowed 32:15                       aunt 11:25 34:22 52:6,8 53:14,17
                                         58:3,6,8,10,20                                       C
    alternative 40:13
                                        author 48:5
    amend 63:24                                                             C-A-R-E-Y 5:12
                                        authority 14:3,20 28:2,12,19
    American 32:10,13                                                       C.S.R. 66:25
                                        authorize 52:11
    and/or 7:25 12:23 13:24 15:9                                            California 19:23,25 20:20 21:10
     60:14                              authorizes 11:12 38:7                31:7,11,14 41:11 42:2 65:1 66:19
    Angeles 5:14 19:5 23:12 24:2,       autism 43:20 44:3                   calling 61:15
     20 42:12,14 49:8 65:2
                                        awards 13:16                        calls 28:14 32:18,22 40:22 41:18
    antagonist 40:17                                                         42:22 45:17,22 57:16 59:18
                                        aware 19:20 47:21 49:5 59:1
    apparent 15:7                        61:10 62:6                         care 14:4 30:22 31:15 50:12
    appears 10:24 26:3,13,17,22                                              57:14
     27:3 30:23 31:8,20 32:8,13 34:11                     B                 caregiver 11:21 18:6,8
     40:2 48:7,14 51:4,9 55:12
                                                                            Carey 5:1,7,12 29:21 34:7 65:22
    applies 42:2                        back 15:23 35:16 38:2 45:3 64:1
                                                                            carrying 36:8
    appointment 51:14 52:6,9            backgrounds 46:12
     56:20,24                                                               case 6:4,10,11,16,17,19,20 7:18
                                        based 14:9 36:6 43:1,5 46:23
                                                                             8:9,19,21 9:3,5,9,10 10:4,17
    appointments 51:21,24 52:12,         48:25 49:18
                                                                             12:23 13:13,22,24 14:4,5,21
     17 57:10                           basically 8:25                       15:15 16:15,21,25 17:22 18:13
    approximation 10:9                                                       19:13 20:17 27:10 31:17 35:13
                                        Begin 30:9                           36:8,10 52:21,25 53:7,10 54:2,8,
    April 30:10 35:6 66:21              beginning 54:8                       16,19,21 55:18 59:4,8 60:13
    arguing 46:8                                                             61:2,5 62:7,9
                                        begins 40:6
    assigned 6:20 9:22 26:18 36:9                                           cc'd 30:11 34:13
                                        behalf 18:8
    assignment 5:24 6:1,7,8,9 9:16                                          centers 30:23
                                        beliefs 27:16 31:3,6
     10:1,4 16:20,22 18:13 36:7                                             CERTIFICATE 66:1
                                        beneath 30:8
    assignments 5:23                                                        certified 63:13 66:3
                                        body 29:15,16
    assume 11:2 28:6 46:20 54:24                                            certify 66:4,15
                                        bottom 32:9,10 33:11,12 48:8
    attach 35:20,23                      55:16,24                           change 21:14,25 22:11,14,22,
    attached 33:25 35:4,24,25                                                23,25 23:5,22,23,24 24:6,8,11
                                        Boxtein 33:10 50:20
    attachment 8:15 30:17,19 32:5                                           changed 21:16 24:7
                                        break 22:18 23:22 40:5
     33:19,23 49:12,17,20                                                   chart 55:19,22
                                        broad 19:7
    attachments 29:7                                                        child 6:13 13:24 14:4 18:6,18,20
                                        brother 45:7                         19:23 20:7,13 21:5,10 23:1,7,21
    attempt 40:14
                                        brought 6:11 45:7                    24:3 25:8 27:6,15,17 29:10 30:22
    attend 34:25 51:17,20 56:19,23                                           31:24 33:5 35:10 37:7 41:21
     57:9                               Burbank 55:16                        42:3,7,15 44:13,19,21 45:1 47:2,
                                        BURKWITZ 10:8 15:4 16:4              11 48:18,23 52:11 53:13,16,19,
    attending 32:3
                                         20:21 28:14 32:18,22 33:1 34:3      23 57:10,14 58:2,6,7,9
    attention 55:21                      40:22,25 41:9,18,23 42:22 45:17,   child's 17:5 18:3 33:7
    attorney 15:23 16:10 30:11           22 46:7 47:4,6,12 52:13 56:21,25
     36:20 66:16                         57:16 58:21 59:18 60:8 62:15,20,   children 14:13 19:25 21:9,12
                                         23 63:18,24                         22:10,15 24:13,22 41:13 43:18,
    August 11:10 12:10,19 51:10                                              22 44:1 50:11,12 62:8
                                        business 11:21 34:23



                                               Stephen Carey
                                               March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 70 of 78 Page ID #:3085
                                          Atkinson-Baker, Inc.
                                            www.depo.com                    Index: children's..discretion

    children's 5:15,17,18,20,23 6:1   contained 65:12                    custody 53:20,22,24 54:13
     50:8
                                      context 26:25 42:25                cut-off 42:5,10,11,14
    chose 21:5
                                      continuance 10:14 12:10,14
    circumstances 60:6,23                                                                  D
                                      continuances 7:12
    City 65:14
                                      continue 25:14                     date 6:25 7:7,8,12,19,21 10:13,
    clarification 14:6                                                    14,15,16 12:19 21:25 26:2 29:17
                                      continued 6:21 11:10 12:5,17,
    clarify 9:14 15:17,24 16:4,8,10    19 37:22,23 38:11 57:25            32:9 34:6,9 39:12,17,20 42:13
     24:9 53:15                                                           48:5 49:12 50:21,22 55:23 56:4
                                      Continues 11:9
    clause 25:13                                                         dated 11:4 26:4,13 33:16,18
                                      conversations 28:22                 48:9 50:19 66:21
    clear 29:9 51:19
                                      convey 45:20                       dates 7:4 10:2 51:5,8
    clerk 12:7
                                      copied 26:21,22 29:17 39:12        daughter 31:22
    close 19:1 40:11
                                      copy 63:13,19,21 64:1              day 7:16 37:21 65:13 66:21
    closed 8:21 54:22
                                      corner 55:25                       days 56:14 62:18 63:7
    co-defendant 6:12
                                      correct 7:11,13 9:23 12:11 15:3,   deal 46:11
    Code 63:1                          9 17:11,15,24,25 18:3,24 20:20
                                       21:1,2,6,7 22:12 23:15,18 25:9,   December 56:6 58:10
    common 51:8 62:6
                                       11 27:2 30:7 62:19,20 65:11       decide 35:12 36:20 44:21
    communication 26:1                 66:13,20
                                                                         decider 44:13
    communications 34:6               corrections 65:9
                                                                         declare 65:7 66:18
    Community 31:15                   couch 56:17
                                                                         declining 31:21
    complaining 44:5                  cough 56:12,14
                                                                         deletions 65:10
    completed 18:14 31:21             counsel 29:12 34:2 39:10 48:3
                                       64:1                              denied 52:5
    completely 9:9 46:2
                                      country 40:14                      Department 12:22 31:14 50:10
    compliance 54:25                                                      57:7 59:21 60:6,16
                                      county 5:13 19:4 23:11 24:1,19
    concern 57:20,23,25 58:18,25       25:4 39:19 42:11 49:8 65:2        Department's 59:13
     59:1
                                      court 11:2,5,12 13:8,10,15,17,     depend 6:7
    concerned 27:23 28:2,12 57:13      20,23,25 14:7,8,10,15,18,25       dependency 5:24 6:16,17,18,22
    conduct 36:4                       15:2,8,20 17:3,5,11,15,24 18:11    17:3,13 18:13 36:3 39:1,2 52:22
                                       33:21 34:20,24 35:9,12 37:8        54:16
    conducted 60:21,22                 38:7,18 43:6 62:25 63:4
    Confidential 50:3                                                    depending 6:6 13:17
                                      court's 14:9 55:1
    conflict 52:5,6,8                                                    desirous 65:10
                                      court-ordered 53:6
    confused 30:1                                                        details 9:19 25:10,11,19 26:23
                                      cousins 12:1                        29:3,4,5
    congested 56:17                   criteria 18:9                      detention 6:21 7:1,5,7,20 8:19
    consideration 37:9 58:24          croupy 56:15                       determine 13:18
    considered 21:3 47:5              CSR 66:3                           difficult 24:10 29:5,7
    contact 39:13 57:14 58:1,19       current 5:23 6:1 18:6 21:9 48:19
     60:22                                                               directly 63:2,5
                                       51:5
    contacts 60:20                                                       discretion 17:8
                                      custodial 54:4,7



                                              Stephen Carey
                                              March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 71 of 78 Page ID #:3086
                                            Atkinson-Baker, Inc.
                                              www.depo.com                        Index: discussed..follow

    discussed 58:25 59:2                end 10:4                          exit 53:23 54:23
    discussing 42:25                    ended 9:11,12,15,17 10:1          experience 43:22 44:25 45:16
    discussions 44:24                   ending 64:6                       explain 36:1 47:19
    disposition 6:23 7:2,9,15 8:1,7,    enforce 44:16,18,20               express 28:17 57:19,22
     21 9:17,23 11:2 12:25 13:5,10,
                                        English 46:6,14,17,24             extends 11:7
     15,19,22 14:19 15:1,9,12 58:15
                                        enroll 21:5 42:17 48:18           extensive 33:24
    dispositional 43:6
                                        enrolled 20:1,13 22:10,15 24:13   extra 61:11
    distinction 22:24
                                         27:15 41:22 42:3,8 48:24
    District 42:14
                                        enrolling 47:3                                      F
    doctor 48:8,14,15
                                        entail 5:20 19:14
    doctor's 33:9 35:11                                                   face-to-face 60:21
                                        entries 50:21
    document 10:22 31:18 49:25                                            fact 55:3
                                        entry 52:5
     50:1,2,6,7,10,11 55:6,11,15 61:4                                     factors 18:4,5
     62:3,4,7,9                         establish 17:4 18:2
                                                                          fade 45:14
    documents 8:11,12,17 9:6            established 18:4
     27:13,15,20 35:5,21 50:4                                             fair 38:10
                                        Estelle 33:7
    drug 53:6,9                                                           familiar 6:14 8:23 14:17 50:4
                                        estimate 10:9
    duly 5:2                                                              family 11:22 34:22 50:11
                                        ethnicities 46:12
    duties 5:21 52:19 63:1                                                fast 20:9
                                        evaluation 56:11
                                                                          father 12:23 40:12 43:17 44:1
                     E                  evening 56:18                      45:12 52:11,21 54:15,25 56:10,
                                        eventually 53:13,16                19,23 57:9,13,25 58:19 59:4,8
    e-mail 26:1,3,7,10,12,13,15,21,     evidence 15:4 41:9                father's 38:19
     24 27:21 29:16,18,20 30:8,11,17
     33:23 34:5,7,9,10,11,15,16 35:6    exact 22:20                       fathers 43:17
     36:19 39:11,20 49:11,19                                              feeling 28:24
                                        examination 5:5 66:10
    e-mails 8:13 28:18 29:6             examined 5:3                      feels 28:13,18 48:15
    earlier 35:5 41:7                                                     felt 28:25
                                        exceptions 25:18
    early 27:9,11                       excuse 23:20 24:3,23              female 56:9
    education 50:3,9                                                      FERGUSON 66:3,24
                                        excusing 37:7
    educational 15:15 16:16,18,21       EXECUTED 65:13                    file 7:3 8:9,11 14:5 32:17 60:19
     17:3,8,14,23 18:7,14 19:6,14,18,                                      61:5
     20 21:4 23:13,16,17                exempt 23:1,7 25:7
                                                                          filing 61:14
    effect 22:21 25:12 28:10            exempting 37:7
                                                                          financially 66:17
    effective 23:5                      exemption 31:3,6 47:2,11,20,24
                                         48:17 49:1                       find 55:8
    effects 43:19 44:2,25
                                        exemptions 47:22,23               findings 8:6,16 12:21 13:8,9
    employee 62:12 66:16                                                   14:10 15:11,13
                                        exhibit 10:18,19 25:21,22,25
    employees 59:14 60:17 62:12                                           fine 10:3,11 16:5,12 42:18
                                         29:11,14 34:1,2 37:25 38:1,15
    employer 19:4 23:11 24:1,19          39:9 45:3 48:2,5 49:10 55:4      focusing 28:11
     49:8
                                        existed 47:7,16,20                follow 13:16 20:10



                                               Stephen Carey
                                               March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 72 of 78 Page ID #:3087
                                           Atkinson-Baker, Inc.
                                             www.depo.com                                Index: force..issued

    force 44:12                                                              24:21 25:14 36:10 38:8 48:19
                                                       H
    foregoing 65:8,11 66:5,13,19                                            immunizations 21:8 31:4,6
                                                                             50:15,18,19 51:1,2,3,6,14
    form 31:7,16 32:6,13,15,21,25      happen 62:2
     61:11                                                                  immunized 21:11,13 22:10,16
                                       happened 9:10,16,20 15:20             23:2,7,21 24:3,13 25:8 48:25
    forms 31:21,22 32:1 33:19,21
     37:6                              happy 19:2                           immunizing 45:1
    forward 29:15,22 63:2              harm 61:20                           important 35:8 62:9,13
    forwarded 29:23 30:2,5,8,9         healed 43:18 44:1                    incident 60:24 61:3,15
    foster 53:14,17                    health 31:11 45:11 50:3,8            included 12:3
    found 13:17                        healthcare 40:13 50:12               including 19:12 24:6 37:6
    foundation 32:19 33:1 41:23        hear 61:25 62:1                      incoherent 46:2,20
     45:18 47:4,6,12 52:13 56:21,25    heard 14:16 25:12,18 58:13           info 49:23
     58:21
                                       hearing 6:21 7:1,2,5,8,20 8:1        inform 24:20 25:1 27:9 51:13
    full 5:11                           10:25 11:1,2,8 12:5,10,17 13:1,5,    61:7,9 62:10
    Funk 34:12                          6,10,11,22 14:19 15:1,9 34:8,17,
                                        18,19 35:2,22 36:24 37:3,4,16,      information 24:25 25:5 27:1
    future 60:20                        18,19,21 38:3,11 39:5,6,7,24         49:15 50:8,17,20 55:8
                                        40:1 58:15                          informed 27:12 61:22
                    G                  hearings 7:9 36:20                   ingredients 45:10
                                       held 12:17                           initiated 19:13 54:16
    Garcia 33:7 55:20
                                       helps 49:25                          input 50:8
    gave 37:25
                                       Helwajian 6:12 34:13 49:14,22        instructions 9:2 61:23
    general 6:1,3,6 9:19 10:3,5 12:7
                                        52:4
     13:12,14,15 17:1 39:12 50:24                                           intent 34:14,16
                                       hesitancy 45:24
    generally 7:13 13:8 16:25 41:21                                         interactions 27:4
                                       high 48:15
    give 10:8,9,10 14:16 60:9                                               interested 66:17
                                       history 8:18,22,24 9:1
    giving 48:14                                                            interests 17:5 18:3
                                       hold 15:1,8 30:21
    Glendale 48:24                                                          investigate 52:21
                                       home 58:2,6,10,19
    good 5:7 63:15,16                                                       investigation 36:4
                                       honestly 8:4,8 23:9 55:12 57:8
    grade 20:1 41:8,15,16,17,22                                             investigator 5:24 6:17,19,22
     42:4,8,17                         Hope 49:24                            17:13 36:4 39:1,2 52:22 53:10
    grandfather 25:13                  hot 27:5                             invite 51:17,20
    grandparents 38:19                 Human 31:11                          involved 19:23 23:2 36:16
    great 11:25 55:10                  hypothetically 13:20 20:5,12         involvement 37:2
                                        60:12
    greater 26:23                                                           iphone 30:3
    groups 43:15 44:5                                                       IPV 50:22
                                                       I
    guard 60:23                                                             issue 20:23,25 27:12 29:8,9
    guess 6:7 14:6 28:15               identification 10:20 25:23            34:20,24 35:12 36:10,11,12,13,
                                       immediately 6:21                      15,21 37:11,12 44:6 62:9
    guessing 5:19 8:8
                                       immunization 11:12 23:25             issued 11:17 12:7
    guns 60:14



                                                Stephen Carey
                                                March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 73 of 78 Page ID #:3088
                                            Atkinson-Baker, Inc.
                                              www.depo.com                          Index: issues..motion

    issues 11:5 14:10,11,12 15:19       letter 48:7,11,13                  MARY 66:3,24
     16:9 28:22 34:17 35:25 36:2,9
                                        Licensing 31:15                    Marylou 26:8
     45:11 61:17
                                        lieu 63:14                         MAT 8:16
    items 9:22
                                        lifestyle 45:13                    matter 11:9
                      J                 light 45:15                        meaning 42:23
                                        limit 17:2,11,13,22 19:10          means 19:17 31:20 32:21,25
    January 51:10                                                           42:23 47:19 48:11
                                        limited 16:21 18:14 37:1
    job 61:21                                                              meant 11:18 23:13
                                        lines 46:1
    judge 6:22 7:10 46:23                                                  measures 60:1,5
                                        listened 58:24
    July 11:8,9                                                            medical 47:2,11,20,21,22,24
                                        living 12:2 34:22
    June 8:3,7 10:13,16 11:5 13:1                                           48:14,17,25 49:15,23 51:24 52:9,
     14:24 15:7,14 16:15 34:8,9 35:21   location 63:3                       12 55:12,19,22 56:20,24 57:10
     37:19 38:3,10,11,12 39:20 51:10    long 5:16 28:8 61:18               meet 15:11
    jurisdiction 6:23 7:1,9,14,25       longer 10:16 48:24                 member 14:8
     8:20 14:18 15:3 40:16 42:20 54:1
                                        Los 5:14 19:5 23:12 24:2,20        members 11:22 34:22
    jurisdictional 8:6 14:10             42:12,14 49:8 65:2
                                                                           mentioned 7:2 12:9 19:17
    juvenile 15:8 17:23 33:21 37:8      low-grade 56:16
                                                                           message 29:24 30:9
                                        Lucy 6:12 16:15 26:13,17 27:5
                      K                                                    methamphetamine 52:24 53:5
                                         29:20 30:10 33:8,16,20 34:7,12
                                         39:19,24 49:16                    methamphetamines 53:2
    kind 24:10 45:15 60:21
                                        Lucy's 39:25                       minor 6:13 14:19 15:3
    kindergarten 18:18,20 20:3,6,7,
     8,14,16,20 21:6                                                       minute 10:24 11:4 12:12 14:25
                                                          M                 15:7 30:1
    knew 20:5 47:22
                                                                           Misstates 15:4 41:9
    knowledge 43:22                     made 6:22 7:10,11,13 8:7 12:21,
                                         22 15:13 16:1,18 38:11 43:6       moment 48:4
                                         59:6,8,12 60:1,7 65:9 66:10       monitor 60:14
                      L
                                        maintain 63:10,19                  monitored 54:17
    lacks 41:23 47:4,6,12 52:13         make 14:11,20 15:11,12 33:14,      monitors 57:6 59:10
     56:21,25 58:21                      17 36:5,18 45:25 52:3 59:4 60:2
                                                                           month 7:21,23 8:1 10:3,5,10
    law 19:22 20:20 21:9,14,16,17,25    makes 60:13                         22:3
     22:8,11,14,20,22,23,25 23:5,23,
     24 24:6,7,8,12,14,15,17,18,21      making 13:9,10,23 14:3 65:10       mother 11:6,17 12:23 15:14
     25:11,12 41:12 42:2 48:19 63:12    manner 28:9                         16:15 18:17,19 27:5 28:3,12,19
                                                                            31:25 33:20 34:21 35:5,9 36:19
    laws 25:1,7 66:19                   Maral 6:12 26:18 34:13 36:22        37:6 40:21 42:19,23 43:21 44:16,
    leader 40:12                         49:14,22 52:4 59:10                24 45:8 47:1 51:13 52:1,5,7
                                        Maral's 36:8                        54:11,12 57:12,19
    leading 43:2,10
                                        March 26:4,14 49:15                mother's 11:13 16:21 18:14
    learn 48:23                                                             38:8 53:20,21,24 58:18,25
    legal 7:3 8:11 14:18 15:2 21:18,    marked 10:19 25:22 29:12 34:2
                                         39:9 48:2 49:10 55:5              mothers 43:16
     19 39:7 40:15,20 41:2,4,7 54:12
                                        Marks 30:16 32:1,3                 motion 63:12
    legally 41:13,15




                                               Stephen Carey
                                               March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 74 of 78 Page ID #:3089
                                          Atkinson-Baker, Inc.
                                            www.depo.com                          Index: moving..policies

    moving 27:20 29:11 34:1 39:9      orders 13:24 14:4,11,20 38:11       penalty 65:7 66:18
                                       53:23 54:23 55:1
                                                                          pending 15:22,25 16:2
                    N                 organic 45:13
                                                                          Penelopy 6:13 26:9 27:2 28:5
                                      original 62:18 63:10,19,21,25        30:15 33:7 34:24 35:12 47:3,11,
    named 12:13 38:23 39:8                                                 25 48:15 49:24 51:21 55:20,22
                                      overbroad 20:21 41:19,23
    Nathan 56:10 57:3,5,6                                                  56:4,24 58:2
                                       58:21 59:18 60:8
    needed 18:7,8 42:3                                                    Penelopy's 51:24

    negative 45:16                                    P                   people 12:2 46:11,14,17

    negatively 43:23                                                      perfect 46:5,6 64:5
                                      p.m. 64:6
    neglect 21:3                                                          period 6:18
                                      pages 8:14 30:20,23 50:14,25
    neglectful 20:18                                                      peripherally 36:16
                                      paragraph 26:6 28:1 40:4 43:12
    note 62:7                          44:8 45:4,21 56:7                  perjury 65:8 66:18

    noted 61:1                        paragraphs 27:22                    permanent 12:6

    notes 56:5 58:14 61:2 62:10       parent 13:24 14:5 17:4 18:2,5       permit 56:19
     66:14                             19:6 20:5,7,15,18 21:5 23:1 25:7   permitted 54:16 57:9
                                       44:21 54:5,7 60:13
    notice 34:17 37:17 39:25                                              permitting 25:14 56:23
                                      parent's 17:2,8,13,22 33:6,8,15
    noticed 37:2,17                                                       personal 27:16 31:3,6 43:21
                                      parental 19:17 23:17,20              44:25 45:16
    noticing 36:19,22
                                      parents 14:13 19:14 20:2 23:6       Persons 11:24
    number 5:22 19:16                  25:14 44:5
    nurses 50:8                                                           petition 13:18,21 17:10,23 36:5,
                                      parents' 23:12 24:2,22               14 37:15
                                      Park 48:7                           phrased 20:22 22:23
                    O
                                      part 17:1 29:22 30:2 36:17          physician's 30:22
    oath 66:7                          52:18,22
                                                                          physicians 32:15
    objected 27:6                     parte 34:18,19 37:2
                                                                          pioneer 40:12
    objection 11:13 38:9 57:16        participate 18:8 21:13
                                                                          place 7:6 8:20,21 13:1,5 22:1
    objections 66:9                   participated 19:3                    24:12,14 37:21 51:15 58:16 66:6
    occasionally 62:2                 parties 6:14 14:13 26:2 33:5        placement 14:11,20 53:14,17
                                       38:15 49:11 60:2 66:16
    occasions 29:2 57:22                                                  Plaintiff 57:12
                                      parts 39:16
    October 51:11                                                         Plaintiff's 64:1
                                      party 39:7
    offered 19:21                                                         Plaintiffs 6:12
                                      Passport 50:3
    office 56:6 60:22 62:2 63:3                                           plaintiffs' 10:19 25:21,22
                                      paternal 11:25 12:1 34:21 52:6,
    option 49:5                        8 53:14,17 57:15 58:3,6,8,10,20    Plaintiffs's 10:18
    options 49:7                      paternity 38:19                     plan 14:21
    order 10:24 11:4,6,7,16 12:6,12   patient 55:18 56:3                  point 9:16,17 16:19 18:1 19:8
     14:19,25 15:7 17:15 18:1,11                                           35:13 43:2,10
     21:13 34:19,21,24 36:13 63:16,   Pediatric 55:17
     19,22 64:1
                                                                          police 60:19 61:15
                                      pediatrician 27:17
    ordered 14:13 53:9                                                    policies 59:21
                                      Pediatrics 32:11,14



                                             Stephen Carey
                                             March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 75 of 78 Page ID #:3090
                                            Atkinson-Baker, Inc.
                                              www.depo.com                         Index: policy..requiring

    policy 24:25 59:23                 prove 18:1                          recently 21:15
    portions 39:13                     provide 9:4 27:13 34:16 63:3,25     recipient 29:17
    position 5:13,16                   provided 9:6 10:23 26:24 29:12      recommendations 36:5
                                        35:5
    positive 25:3,4 52:24 53:1,4                                           recommended 21:18 22:9
                                       public 21:13 22:11,16 23:3
    possibility 28:7                                                       record 5:10 6:11 35:17 51:19
                                        24:13 48:18
                                                                            63:4
    possibly 61:7
                                       purpose 37:16,17 63:12
                                                                           recorded 66:11
    practice 17:1 59:22,23 62:4
                                       put 66:7
                                                                           records 55:13
    pre-k 30:16
                                                                           refer 10:17 48:1
    precautions 61:11                                   Q
                                                                           refusal 30:25 32:5,16 33:4 35:10
    prefer 20:6
                                       question 6:3 14:14 15:22,25         refuse 23:1,7,20 24:2,23 25:14
    prefers 20:15                       16:2 18:22 19:7 23:19 24:5,10,17
                                        35:14 39:15 40:18 43:5 46:7,8      refused 27:14,16
    prepared 35:1
                                        53:15 56:2 58:8                    related 24:5 32:13 36:13 37:14
    presence 62:8
                                       questions 16:10 22:23 43:2,10       relates 24:17
    present 24:6,18,21 25:7 37:19,      62:15 66:9
     20 38:16,17,18 39:1,2,5,6 51:23                                       relative 11:21 66:15
     52:12
                                                        R                  relieve 62:25
    presently 23:6 24:8 25:8 48:24
                                                                           remainder 54:19
    presents 56:10                     Rachel 30:11
                                                                           remains 24:14 54:18,21
    previous 22:8 49:19 62:22          radar 37:12
                                                                           remember 7:21,23 8:1 9:2,7
    previously 25:15 27:14 29:12       Raymond 30:12                        16:17 22:20 27:4 35:1,4 39:5
     34:1 37:7,25 39:9 48:2 49:10      reaction 48:16                      removal 58:15
     52:4 55:4
                                       reactions 45:11                     removed 53:13,17 58:6,7,9
    prior 8:9 22:11,22,25 23:22,24
     51:13 53:2 54:7,16                read 26:6 27:21,24 28:1 29:22       repeat 35:14 39:15
                                        31:9 32:9 33:3,5 35:16,17 38:5,
    private 30:16                       14,16 39:13,18 40:3 43:12,13       rephrase 15:5
    problem 51:19                       44:8 45:6 48:4,10 49:21 50:25      report 8:14,15 30:22 35:1,4,21
                                        56:7 65:8                           36:23 37:3 60:19,24 61:15
    problems 56:12
                                       reading 12:13 29:19 32:24           reporter 29:13 63:1,4 66:4
    procedural 8:18,22,23 9:1
                                       reason 35:20 37:5,10 38:25          REPORTER'S 66:1
    procedure 8:25 59:16 62:4,6         63:11
                                                                           reports 8:15 10:14 61:3
    proceedings 66:5                   reasons 28:4 48:15 58:5
                                                                           represent 50:6
    process 62:3                       recall 7:5,18 8:5,8,17 9:19 10:6,
                                        12 12:8 15:20 16:17,23 18:12       requesting 34:19
    produce 63:11 64:4
                                        21:14,22,25 23:15 24:24 28:21      require 18:10
    property 11:22                      29:3,4,5,9 33:22,24 35:7 39:6
                                        45:2 52:10,15 53:1,8,12 56:23      required 18:7 21:12 22:9 23:9
    propose 62:23
                                        57:5,6,8 59:6,11,15 61:19           31:3,6,23 41:13,15 48:25
    propounded 66:9
                                       receipt 63:8                        requirement 21:17,19 22:15
    protect 11:18 59:14,16,21,25
                                       receive 19:13 24:1                  requirements 32:2
     60:17
                                       received 19:8 31:18 33:19 50:12     requiring 24:12
    protected 11:24



                                                Stephen Carey
                                                March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 76 of 78 Page ID #:3091
                                           Atkinson-Baker, Inc.
                                             www.depo.com                               Index: residence..St

    residence 12:2 34:22,23            safe 60:2                           side 28:10 31:14 43:19 44:2,25
    resolved 56:13                     safety 62:12                        signature 33:15,17 35:11
    respect 23:15,17                   Saturday 39:20                      signatures 33:11,12,14,15
    responded 26:20 27:1               scenario 60:10                      signed 27:17 30:15 32:16 35:9
                                                                            37:7
    responding 26:10,11                school 19:24 20:1 22:11,16 23:3
                                        24:13 27:15 30:16 31:22,23,25      significant 38:20
    response 39:25
                                        32:3 34:25 40:15,20 41:2,4,8,14
                                                                           similar 23:19 49:7
    responsibility 37:13                42:14 47:3 48:18
                                                                           single 26:25 29:8
    responsible 36:9                   schools 21:13
                                                                           skip 18:18,19 20:3,8,15,19 45:4
    restraining 11:6,7,16 12:6         scope 36:6 37:13
                                                                            48:18
     34:21 36:12
                                       season 10:10
                                                                           skipped 20:6 40:5
    retained 15:15 16:16
                                       security 60:23
                                                                           skipping 44:8
    retains 20:7
                                       seeking 47:10
                                                                           social 5:15,17,18,21,23 6:1,6
    retiring 19:1
                                       send 34:10                           17:1,12 18:23 19:21 20:6,17
    returned 53:19,21,24 56:14                                              24:20 26:18 31:15 36:8 46:12
                                       sender 49:21
                                                                            50:7 52:18 58:25 59:9,17,22
    review 8:9,12,18,22 9:2,3,9,21,
                                       sense 36:18 45:25                    60:13,18 61:12 62:11,12
     22,25 10:22 15:6 58:14
                                       sentence 28:11 44:11 46:2           sole 54:12
    reviewed 8:11,13,15 9:6
                                       September 42:16                     sound 42:17
    reviewing 7:3 14:25
                                       series 50:22                        Sounds 56:15
    ridiculous 46:9
                                       Serobian 5:6 10:17,21 15:5          Source 50:20
    right-hand 55:25
                                        16:7,13 20:24 25:20,24 28:16
                                                                           South 48:7
    rights 15:16 16:16,18,21 17:3,9,    32:20,23 33:2 34:4 35:19 40:23
     11,14,23 18:14 19:6,14,17,19       41:3,10,20 42:1 43:3 45:19 46:3,   speak 16:8,9 46:5,14,23
     21:4 23:18 24:22 54:13             10 47:5,9,14 48:1 52:14 56:22
                                                                           speaking 15:19 47:1 60:12
                                        57:2,18 59:3,20 60:11 62:14,17
    rights' 19:21                       63:7,16,23 64:3,5                  special 37:3
    risk 48:15                         services 14:12 18:7 31:11,15        specific 7:7,8 10:2 13:12 19:20
    role 5:25 6:4,16 36:3               50:11                               23:17 24:4,24 25:17 36:3 42:5,13
                                                                            60:9,10 61:19
    Ronald 34:12                       services-related 36:9,11,13
                                                                           specifically 7:22 19:18 28:23
    roughly 9:12 51:4                  servicing 52:18 59:9
                                                                            33:24 36:20 37:14
    RPR 66:24                          set 34:8 36:20 39:24 62:4 66:6
                                                                           specifics 59:11
    rule 6:23                          share 58:18
                                                                           speculate 28:20
    ruled 11:3                         shine 45:15
                                                                           speculation 28:14 32:18,22
    ruling 7:10,13,14 15:12 43:6       shorthand 66:4,14                    40:22 41:18,24 42:22 45:17,22
                                                                            57:17 59:19
    rulings 7:11 13:15 16:18           shortly 6:20
                                                                           spell 5:11
    run 23:10                          show 27:13
                                                                           spoke 9:7 26:8
                                       showing 27:16
                    S                                                      SS 65:1
                                       shows 40:16
                                                                           St 30:16 32:1,3
    S-T-E-P-H-E-N 5:12                 sick 28:7 43:18 44:2




                                                Stephen Carey
                                                March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 77 of 78 Page ID #:3092
                                          Atkinson-Baker, Inc.
                                            www.depo.com                    Index: standard..unaware

    standard 31:7 32:6 50:10 59:16    switched 45:12                    61:18 64:6 66:6,7,10
    start 13:23 14:3 30:8             sworn 5:2                        timeframe 9:1 19:3,10
    started 21:22 45:13               system 61:4                      times 7:16 42:5 61:22
    starts 27:22 40:4 43:13 45:4                                       title 12:13 30:24,25 31:2 32:24
                                                      T                 33:3,4 39:23 50:2
    state 5:10 19:22,25 31:11 65:1,
     14                                                                titled 57:3
                                      taking 51:15 61:15
    state-provided 37:6                                                today 8:10
                                      talk 9:4
    statement 52:3                                                     told 9:21 10:8 52:4 56:3
                                      talked 23:11
    statements 66:10                                                   top 29:7,19 30:2,6 31:9 34:1
                                      talking 19:18 43:1,7              39:21,23
    stay 29:7
                                      Tara 48:8                        topic 27:6 51:1
    stenographically 66:11
                                      teams 43:15                      touched 19:16
    step 60:16
                                      telephone 28:17                  touches 40:11
    Stephen 5:1,12 29:21 34:7
     65:22                            telling 48:13                    trained 49:7 61:12
    steps 61:13                       tells 44:1                       training 19:8,13 23:12,15 24:1,
                                      temp 56:16                        4,19 61:18
    stipulated 64:5
                                      temporary 11:6,7,16 12:5 34:21   trainings 19:4,16,21 24:24 25:1
    stipulation 62:16,21,22,24
                                                                        61:17,19
     63:25                            term 8:23,25
                                                                       transcribed 66:12
    stop 11:14                        terminated 54:1,3
                                                                       transcript 63:2,5,9,10,17,20,25
    strongly 21:18 22:9               terminology 14:16 60:14           64:2,3 65:8,11 66:14
    stuck 9:5                         test 52:24 53:4,6                transcripts 63:8
    subject 26:2 29:18,20 30:12       tested 53:1                      trial 63:12
     34:6,7 39:17,21 40:10 48:5
     49:12,14                         testified 5:3 14:24 15:6 23:14   true 13:17 20:4 65:11 66:13,19
                                       25:6 36:23
    subjective 56:8                                                    turn 25:20 50:1 55:4
                                      testify 41:7
    submit 33:20                                                       Turning 21:8 49:10 50:14 55:21
                                      testimony 65:12 66:8
    submitted 31:22,25 33:22,23                                        type 23:25 24:19 26:1 50:4 54:15
                                      tests 53:9
    suffered 43:19 44:2                                                typos 46:4,5,21
                                      thereof 63:14
    sufficient 48:18,21
                                      thing 28:6 61:6                                    U
    summary 8:16
                                      things 9:3 15:24 39:18 62:4
    supervisor 56:11 57:4 61:7                                         Uh-huh 5:9 36:25
     62:10                            thousands 43:16 44:4
                                                                       Ulikhanova 6:13 15:15 16:16
    supervisors 61:5,23               thread 26:12,24 49:19             26:4,13,17 27:5 29:20 30:10
    supplemental 8:14                 threat 59:25 60:1,6,13 61:8       33:8,20 34:8,13 39:19,24 49:16
                                       62:11                            57:13
    support 43:15 44:5
                                      threatened 61:14,20,22           unauthorized 57:14 58:1,19
    surprise 48:23 49:3 58:11
                                      threats 59:4,6,9,12,14,17,22     unavailable 18:6
    surprised 59:7
                                      time 6:18 15:25 16:3 21:23,24    unaware 58:7
    sustains 13:21                     22:20 26:19 28:5,8 43:11 45:9



                                               Stephen Carey
                                               March 29, 2019
Case 2:17-cv-09193-FMO-E Document 97-1 Filed 05/23/19 Page 78 of 78 Page ID #:3093
                                          Atkinson-Baker, Inc.
                                            www.depo.com                 Index: uncle..Zandvliet

    uncle 12:1                        walk-on 34:18,19
    unclear 49:18                     wanted 18:17,19 60:19
    undermined 28:3,13,19,24 29:1     warning 29:21
    undersigned 65:7                  ways 23:22
    understand 14:9 21:1 30:1         week 56:13
     31:23 36:17 46:1 47:18 58:8
                                      weeks 56:13
    understanding 9:13 13:4,9
                                      witnesses 38:21,22 39:4
     14:22 15:10 20:2 21:9,12 22:8
     24:7,11,15 40:24 41:5,11 42:9    words 12:2
     43:8,9
                                      worker 5:15,17,18,21,23 6:2,6
    understood 43:11 47:23             17:1,12 18:23 20:17 26:18 46:12
                                       58:25 60:13,18 61:12 62:11
    Unified 42:14 48:24
                                      worker's 52:19
    unmonitored 58:1
                                      workers 19:21 20:6 24:21 25:5
    unsigned 63:13
                                       36:8 50:7 59:9,17,22 62:12
                                      worse 56:18
                      V
                                      write 46:6,17
    vaccinate 28:5 31:1,21 32:5,16    writing 46:21
     33:4 35:10
                                      written 34:17 49:21
    vaccinated 21:11 26:9 27:2,7
     29:10 34:25 37:8 44:19,22 45:1   wrote 26:7 36:23 37:3
    vaccinating 35:12
                                                       Y
    vaccination 24:22 26:5 28:10
     36:15,21 44:12
                                      year 7:21 8:2 10:3,5,10 25:15
    vaccinations 21:8 27:14 43:23      42:16
     45:16 50:22
                                      years 5:18,19 18:24,25 19:1,11,
    vaccine 30:12,14 44:14             12 23:14 41:5,17 42:6,7,16
    vaccines 39:23 43:19 44:2 45:8    yesterday 26:8
     48:16
    valid 28:4                                         Z
    verbally 28:18
                                      Zandvliet 48:9
    violence 60:15 61:14
    visit 56:4,6
    visitation 14:12,21 54:15
    visits 54:17

                      W

    waived 50:19 51:2
    waiver 30:12,14 32:16 35:9




                                               Stephen Carey
                                               March 29, 2019
